Case 2:24-cv-03432-DC-AC Document 1-1 Filed 12/10/24 Page 1 of 64




 EXHIBIT A
                                                                                                                                                     SUM-100
                                    SU M M ON S
                          Case 2:24-cv-03432-DC-AC                                COURT USE ONLY
                                                   Document 1-1 Filed 12/10/24FOR Page    2 of 64                      (SOLO PARA USO DE LA CORTE)
                                     (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):                                                                                      ELECTRONICALLY FILEDr
 THE STANDARD FIRE INSURANCE COMPANY, a Connecticut Company;                                                 Superior Court ❑f 4fal1fornia,
 and DOES 1-10;                                                                                                  Count y of E l Dorado
YOU ARE BEING SUED BY PLAINTIFF:                                                                             ~IO~ 4~021 at 02:47:07 PM
(LO EST.4 DEMANDANDO EL DEMANDANTE):                                                                           By: Katherine Burtt, Deputy Cleri<
JACK YOUNG, an individual
 NOTICE! You have been sued. The court may decide against you without your being heard un[ess you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 iAVISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea la informacion a
 continuaci6n.
     Tiene 30 DlAS DE CALENDARIO despues de que le entreguen esta citacibn y papeles legales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefonica no lo protegen. Su respuesta por escrito fiene que estar
 en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la corte y mas informacion en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
 biblioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentacidn, pida al secretario de la corte
 que le de un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
 podra quitar su sueldo, dinero y bienes sin mas advertencia.
    Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remisionaabogados-Si nopuedepagara-un atiogado,             — es posibleque cumplacon/os requisitas para obtener servicios legales gratuitos de un
 programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (www.lawhelpca[ifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o ponicndose en contacto con la corte o el
 colegio de abogados locales. AV!SO: Por ley, la corte tiene derecho a reclamar las cuofas y los costos exentos por imponer un gravamen sobre
 cualquier recuperaci6n de $10,000 o mas de valor recibida medianfe un acuerdo o una concesidn de arbitraje en un caso de derecho civil. Tiene que
 oaaar el aravamen de la corte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                                       ~NmerouvBcao):
(El nombre y direccion de la corte es):                                                                                         2 4CV 2 3$ g
Superior Court of California, County of El Dorado
1354 Johnson Blvd
South L•ake Tahoe, CA 96150
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(EI nombre, la direccion y el numero de felefono del abogado del demandante, o del demandante que no fiene abogado, es):
Daniel J. Veroff, Esq. SBN 291492 / Merlin Law Group
601 Montgomery Street, Suite 1925   Ph.:(415)851-2300
San Francisco, CA 94111
DATE:
(Fecha)
              10/24/2024
                                                                        Clerk, by
                                                                        (Secretario)
                                                                                     ~   '
                                                                                                  -
                                                                                                    ~
                                                                                                          g            Shelby Wineinger
                                                                                                                                                            Deputy
                                                                                                                                                           (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citaci6n use el formulario Proof of Service of Summons, (POS-010)).
                                   NOTICE TO THE PERSON SERVED: You are served
 [SEAL]
                                   1,      as an individual defendant.
        ~;".i ~~ m~~a              2.      as the person sued under the fictitious name of (specify):



                                                on be a of (specify): THE STANDARD FIRE INSURANCE COMPANY,
                                                                                                                a Connecticut Company
                                            under:       CCP 416.10 corpora ton)
                                                         CCP 416.20 (defunct corporation)       CCP 416.70 (conservatee)
                                                        CCP 416.40 (association or partnership) CCP 416.90 (authorized person)
                                                         other (specify):
                                            Q     by personal delivery on (date):
                                                                                                                                                           Page 1 of 1
Form Adopted for Mandatory Use                                         SUMMONS                                                Code of Civil Procedure §§ 412.20, 465
 Judicial Gouncil of California   rr~ EsS£nti~l                                                                                                www.courtinfo.ca.gov
 SUM-100 [Rev. July 1, 20091    C,,'Ll~
                           ceb.com ,t,EPo~s'                                                                  TRUJILL0
                     Case 2:24-cv-03432-DC-AC Document 1-1 Filed 12/10/24 Page 3 of 64
                                                                                                                                                                             CM-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Sfate Barnumber, and address):
 Daniel J. Veroff, Esq. [SBN 291492]                                                                                                       FOR COURT USE ONLY
 Merlin Law Group
 601 Montgomery St., Ste. 1925 San Francisco, CA
 TELEPHONENO.: ( 415 )       851- 2300                            FAXNO.: (415) 960-3882
 EMAILADDRESS: DVerOff@merlinlawCJYOup.com                                                                              ELECTRONICALLY FILED
 ATTORNEYFOR(Name): Plaintiff, Jack Young                                                                                Superior Court of California,
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF EL DORADO                                                                                C0Llrlty of El D0rad0
  STREETADDRESS: 1354 Johnson Blvd
  MAILING ADDRESS:
                                                                                                                         10/24/2024 at 02:47:07 p M
 CITYANDZIPCODE:SOuth Lake Tahoe,                             CA 96150                                                      By: Kthenne Burtt, Deputy Clerk
    BRANCHNAME: South Lake Tahoe

 CASE NAME:
                          Jack Young v. The Standard Fire Ins. Co., et al.
         CIVIL CASE COVER SHEET                                       Complex Case Designation                          CASENUMBER:

 ®       Unlimited     O Limited                                   lO   Counter     O Joinder                                                24CV2389
          (Amount                              (Amount
                                                                Filed with first appearance
                                                                                  pp        by defendant                JUDGE: Leanne                 Mayberry
          demanded                             demanded is
                                                                    (Cal. Rules of Court, rule 3.402)                    DEPT.:   4
          exceeds $35,000)                     $35,000 or Iess)

         Check one box below for the case type that best describes this case:
      Auto Tort                                                     Contract                                        Provisionally Complex Civil Litigation
            Auto (22)                                                         Breach of contract/warranty (06)      (Cal. Rules of Court, rules 3.400-3.403)
                                                                    ]
            Uninsured motorist (46)                                                                                        AntitrustlTrade regulation (03)
                                                                        jjjj] Rule 3.740 collections (09)
      Other PI/PD/WD (Personal Injury/Property                      [jjjj] Other collections (09)                   O      Construction defect (10)
      Damage/Wrongful Death) Tort                                                                                   O        Mass tort (40)
                                                                    O      Insurance coverage (18)
              Asbestos (04)                                         O        Other contract (37)                    O        Securities litigation (28)
              Product liability (24)                                                                                O        Environmental/Toxic tort (30)
                                                       Real Property
     O     Medical malpractice (45)                                                                                          Insurance coverageclaims arising from the
                                                               Eminent.domain/Inverse—
           Other PI/PD/WD (23)                                                                                            above listed provisionally complex case
                                                               condemnation (14)
                                                                                                                          types (41)
     Non-PI/PDIVIID (Other) Tort                       O       Wrongful eviction (33)                               Enforcement 6f Judgment
           Business tort/unfair business practice (07) [jjjjj] Other real property (26)                             ~     Enforcement of judgment (20)
           Civil rights (08)                           Unlawful Detainer
                                                                                                                    Miscellaneous Civil Complaint
     O     Defamation (13)                                     Commercial (31)
                                                                                                                             RICO (27)
     O       Fraud (16)                                                      Residential (32)
                                                                                                                             Other complaint (not specified above) (42)
             Intellectual property (19)                             O     Drugs (38)
                                                                                                                    Miscellaneous Civil Petition
             Professional negligence (25)                           Judicial Review
                                                                                                                             Partnership and corporate governance (21)
          Other non-PI/PD/WD to rt (35)                                      Asset forfeiture (05)
     Employment                                                             Petition re: arbitration award (11)              Other petition (not specified above) (43)
     O       Wrongful termination (36)                              [jjjjj] Writ of mandate (02)
     ~       Other employment (15)                                  [jjjjj[ Otherjudicial review (39)
2. This case O        is     ®        is not   complex under rule 3.400 of the Califomia Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
                                                                     d. O        Large number of witnesses
   a. ]j     Large number of separately represented parties
                                                                     e.  jjjjjj1 Coordination with related actions pending in one or more
   b. O      Extensive motion practice raising difficult or novel
             issues that will be time-consuming to resolve                       courts in other counties, states, or countries, or in a federal
                                                                                 court
   c. O      Substantial amount of documentary evidence                          Substantial postjudgment judicial supervision
                                                                     f. O
3.  Remedies    sought  (check  all  that apply): a. ®   monetary   b. O       nonmonetary;   declaratory or injunctive relief c. jjj[ punitive
4. Number    of causes   of action  (specify):
5. This case [jjjjjj] is     O        is not   a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date:October 24, 2024
                 Daniel J. Veroff, Esq.
                                 i T rC UK rKiry I Iv,alVlC                                                       JIIiNA I UKt UI- rAK I Y UK A I I UKNtY YUK rAK I Ï )
                                                                               NOTICE
 •    Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
      under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result in sanctions.
 •   File this cover sheet in addition to any cover sheet required by local court rule.
 •   If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all other parties to
     the action or proceeding.
 •   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.              Page 1 of 2
Form Adopted for Mandalory Use                                                                                                 Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
Judicial Council of California                                          CIVIL CASE COVER SHEET                                         Cal. Standards of Judicial Administration, std. 3.10
CM-010 [Rev. January 1, 2024]                                                                                                                                           www.courts.ca.gov
                      Case 2:24-cv-03432-DC-AC Document 1-1 Filed 12/10/24 Page 4 of 64
                                INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                          CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that '
the case is complex.                                       CASE TYPES AND EXAMPLES
  Auto Tort                                    Contract                                            Provisionally Complex Civil Litigation (Cal.
       Auto (22)—Personal Injury/Property          Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
             Damage/Wrongful Death                     Breach of Rental/Lease                             Antitrust/Trade Regulation (03)
          Uninsured Motorist (46) (if fhe                   Contract (not unlawful defainer               Construction Defect (10)
         case involves an uninsured                             or wrongful eviction)                     Claims Involving Mass Tort (40)
        motorist claim subject to                      Contract/Warranty Breach—Seller                    Securities Litigation (28)
         arbitration, check this item                       Plaintiff (not fraud or negligence)           Environmental/Toxic Tort (30)
        instead ofAuto)                                Negligent Breach of Contract/                      Insurance Coverage Claims
  Other PI/PD/IND (Personal Injury/                         Warranty                                             (arising from provisionally complex
  Property Damage/Wrongful Death) Tort                 Other Breach of Contract/Warranty                         case type listed above) (41)
       Asbestos (04)                               Collections  (e.g., money    owed, open         Enforcement       ofJudgment
         Asbestos Property Damage                      book -accounts) (09) - -                         Enforcement of Judgment (20)
         Asbestos Personal Injury/                     Collection Case—Seller Plaintiff                     Abstract of Judgment (Out of County)
               Wrongful Death                          Other Promissory Note/Collections Case           Confession of Judgment (non-domestic
      Product Liability (not asbestos or           Insurance Coverage (not provisionally                     relations)
          toxic%nvironmental) (24)                     complex) (18)                                    Sister State Judgment
      Medical Malpractice (45)                         Auto  Subrogation                                Administrative Agency Award
           Medical Malpractice—                        Other Coverage                                       (not unpaid taxes)
                 Physicians & Surgeons             Other Contract (37)                                  Petition/Certification of Entry of
       Other Professional Health Care                  Contractual   Fraud                                   Judgment on Unpaid Taxes
              Malpractice                              Other Contract Dispute                           Other Enforcement of Judgment Case
      Other PI/PD/WD (23)                      Real Property                                       Miscellaneous Civil Complaint
           Premises Liability (e.g., slip          Eminent Domain/Inverse                               RICO (27)
                 and fall)                             Condemnation (14)                                Other Complaint (not specified above) (42)
           Intentional Bodily Injury/PD/WD         Wrongful Eviction (33)                                     Declaratory Relief Only
                 (e.g., assault, vandalism)        Other Real Property (e.g., quiet title) (26)               Injunctive Relief Only (non-
           Intentional Infliction of                   Writ of Possession of Real Property                         harassmenf)
                Emotional Distress                     Mortgage Foreclosure                                   Mechanics Lien
           Negligent Infliction of                     Quiet Titlee                                           Other Commercial Complaint
                 Emotional Distress                    Other Real Property (not eminent                            Case (non-tort/non-complex)
           Other PI/PD/WD                              domain, landlord/tenant, or                            Other Civil Complaint
  Non-PI/PD/IMD (Other) Tort                           foreclosure)                                                (non-tort/non-complex)
      Business TorUUnfair Business             Unlawful Detainer                                   Miscellaneous Civil Petition
          Practice (07)                           Commercial (31)                                       Partnership and Corporate
      Civil Rights (e.g., discrimination,         Residential   (32)                                         Governance (21)
            false arrest) (not civil              Drugs (38) (if the case involves illegal              Other Petition (not specified above) (43)
            harassment) (08)                       drugs, check   this item;  othenvise,                     Civil Harassment
      Defamation (e.g., slander, libel) (13)      report as Commercial or Residential)                       Workplace Violence
      Fraud (16)                                       l Review
                                                             i                                              Elder/Dependent Adult Abuse
      Intellectual Property (19)                  Asset Forfeiture (05)                                     Election Contest
      Professional Negligence (25)                Petition Re: Arbitration Award (11)                       Petition for Name Change
          Legal Malpractice                       Writ of Mandate (02)                                      Petition for Relief From Late Claim
          Other Professional Malpractice              Writ—Administrative Mandamus                          Other Civil Petition
               (not medical or legal)                 Writ—Mandamus on Limited Court
      Other Non-PI/PD/WD Tort (35)                        Case Matter
  Employment                                          Writ—Other Limited Court Case Review
      Wrongful Termination (36)                   Other Judicial Review (39)
      Other Employment (15)                           Review of Health Officer Order
                                                      Notice of Appeal—Labor Commissioner

CM-010 [Rev. January 1, 20241                                                                                                             Page 2 of 2
                                                         CIVIL CASE COVr - SHEET
                                                            /)


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 1 VICTOR JACOBELLIS, ESQ. [SBN 278988]
   DANIEL J. VEROFF, ESQ. [SBN 291492]
 2 RUDY TAP, ESQ. [297650]                            ELECTRONICALLY FILED
   MERLIN LAW GROUP                                   Superior Court of California,
 3 601 Montgomery Street, Suite 1925                     County of El Dorado
   San Francisco, CA 94111                            10/24/2024 at 02:47:07 PhA
 4 Tel: (415) 851-2300
   Fax: (415) 960-3882                                 By: Katherine Burtt, Deputy Clerk
 5 Email: dveroff@merlinlawgroun.com

 6 Attorneysfor Plaintiff
   JACK YOUNG
 7

 8                   SUPERIOR COURT OF THE STATE OF CALIFORNIA

 9                          FOR THE COUNTY OF EL DORADO COUNTY

10
11 JACK YOUNG, an individual;                   Case No. 24CV2389

12                Plaintiff.
                                                COMPLAINT FOR:
13         v.
                                                    (1) BREACH OF CONTRACT
     THE STANDARD FIRE INSURANCE                  (2) BREACH OF THE IMPLIED
15 COMPANY, a Connecticut Company; and DOES           COVENANT OF GOOD FAITH
   1-10;                                        AND FAIR DEALING
16
                  Defendants.                          JURY TRIAL DEMANDED
17
                                                      UNLIMITED JURISDICTION
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                                            1
                                        COMPLAINT
             Case 2:24-cv-03432-DC-AC Document 1-1 Filed 12/10/24 Page 6 of 64



         1                                    Parties, Venue and Jurisdiction
         2          1.      Plaintiff, Jack Young, is an individual over the age of eighteen who at all relevant
         3 times resided at 1048 Washoan Boulevard, South Lake Tahoe, in E1 Dorado County (the
         4 "Property").
         5          2.      Defendant, the Standard Fire Insurance Company, a subsidiary of Travelers
         6 Insurance Company ("Standard Fire"), is a Connecticut corporation with its principal place of
         7 business in Hartford, Connecticut that does business in El Dorado County and licensed to conduct
         8 I business in California.
         9          3.      The true names and capacities, whether individual, corporate or otherwise, of the

        10 Defendants named herein as DOES 1 through 10, inclusive, are presently unknown to Mr. Young
        11 who therefore sue these Defendants by such fictitious names; Mr. Young reserves the right to
        12 amend this Complaint to reflect their true names and capacities when the same have been
        13 ascertained. Mr. Young is informed and believe, and on that basis alleges, that each of the

——— -   14 Defendants fictitiously named-herein-as-a-DOEDefendant-isatfault irisomemannerfor theacts
        15 and omissions alleged herein and caused and/or are otherwise legally responsible for the injuries
        16 and damages to Mr. Young as herein alleged.
        17          4.      Jurisdiction is appropriate in this State. Mr. Young is a resident of California. The
        18 matter in controversy, exclusive of interest and costs, exceeds the jurisdictional minimum for
        19 unlimited civil matters
        20          5.      Venue is appropriate in this County because the insurance loss, breach of contract

        21 and breach of the implied covenant of good faith and fair dealing that are the subjects of this
        22 lawsuit occurred in El Dorado County.
        23                                          General Allegations
        24          6.      At all relevant times, Mr. Young was the owner the Property, which contained a
        25 1,240 square foot single story home with three bedrooms, two bathrooms, and an attached exterior
        26 deck (the "Home").
        27
        28


                                                               2
                                                         COMPLAINT
e   Y




             Case 2:24-cv-03432-DC-AC Document 1-1 Filed 12/10/24 Page 7 of 64



         1           7.     At all relevant times, the Property was insured against risks of loss by Standard Fire
         2 Homeowners policy number 6097518916331 with a policy period from October 9, 2022 to
         3 October 9, 2023 (the "Policy"). The Policy is attached as Ex. 1.
         4           8.     The winter 2022 to 2023 was an historical season for snow fall in the Lake Tahoe
         5 area. By April 1, 2023, it was the second snowiest season on record with approximately 700
         6 inches of snow. The weight of ice and snow on the roof and other areas of the home caused severe
         7 sti-uctural damage to its roof and framing, as well as the collapse of the exterior deck, depression
         8 of the front porch, cracking in stone veneer, damage to the driveway pavement, and more (the
         9 "Loss").
        10           9.     Mr. Young discovered the Loss on or about April 12, 2023 and submitted a claim
        11 to Standard Fire. Standard Fire accepted the claim aiid assigned it number IXB0825001H (the
        12 "Claim"). The Claim is covered under the Policy and not excluded. Mr. Young complied with all
        13 his legal obligations under the Policy, except those which were excused, waived, impossible to
        14 perform,or otherwise ineffective-as-a-matter--of-law               —       — ---        —
        15           10.    Despite accepting coverage for the Loss, Standard Fire adjusted the Claim in an
        16 unreasonable manner that frustrated Mr. Young's rights under the Policy. Standard Fire's
        17 unreasonable Claim adjustment included retaining a knowingly biased consultant who originally
        18 contended that there was no damage to the roof, resulting in a denial, who then, after substantial
        19 pushback from Mr. Young, reversed positions and admitted there was in fact damage. However,
        20 despite admitting there in fact was damage to the roof framing, the same biased consultant
        21 contended the damage pre-existed the Loss and was caused by alleged long-term exposure to
        22 humidity from insufficient attic venting. In support, the consultant contended that the observed
        23 cracks to the wood framing members must have pre-existed the Loss because of an alleged visual
        24 appearance of paint within the cracks. However, there are no photographs depicting this and no
        25 other persons inspecting the roof framing were able to see the same alleged condition. Despite
        26 this, Travelers relied on its biased and unreliable consultant to refuse any further inspections or to
        27 change its coverage positions, thus forcing Mr. Young to file this lawsuit.
        28


                                                               3
                                                         COMPLAINT
          Case 2:24-cv-03432-DC-AC Document 1-1 Filed 12/10/24 Page 8 of 64


     1            11.     As a result of Standard Fire's conduct, Mr. Young was not indemnified for all
     2 damage caused by the Loss and covered under the Policy.

     3            12.     As a result of Standard Fire's unreasonable conduct, Mr. Young did not have
     4 sufficient funds to return the Home to its pre-loss condition.

     5            13.     Standard Fire's unreasonable claim conduct required Mr. Young to retain the
          services of an attorney to pursue benefits rightfully owed. He has and continues to incur
          substantial costs and suffered other consequential damages.
                  14.     Standard Fire's conduct was not an isolated event but part of a predetermined
     9 company plan to underwork and underpay claims and ultimately obtain windfall profits based on

    10 the small number of policyholders who are likely to bring over this conduct. Further, Standard

    11    Fire's conduct was intended to attempt to create a reasonable sounding but wrongful basis to deny
    12 or underpay the Claim and to intimidate Mr. Young from pursuing his rights.

    13            15.     Standard Fire acted with malice, fraud and oppression within the meaning of Cal.

—         -Civ.-Code §3294.--F-or-this-and other reasons,- and-as-a- result~-Mr.- Youngis entitled-topunitive anc
    15 exemplary damages.

    16                    fl                         First Cause of Action
    17                            (Breach of Contract - Against Standard Fire and Does 1-10)
    18            16.   Mr. Young re-alleges and incorporates by reference paragraphs 1-15 as though
                                                      ~
    19 fully set forth herein.

    20'           17.     At all relevant times, a valid contract, the Policy, existed between Standard Fire
    21 and Mr. Young.

    22            18.     The Property was damaged by the Loss. The Claim and the resulted damages are
    23 covered under the Policy and not excluded or limited.

    24            19.          Standard Fire breached the Policy by failing to pay all amounts owed under the
    25 Policy for the Claim.

    26            20.    As a proximate cause of this breach, Mr. Young has been damaged as described
    27 above.

    28


                                                               4
                                                          COMPLAINT
      Case 2:24-cv-03432-DC-AC Document 1-1 Filed 12/10/24 Page 9 of 64



  1                                          Second Cause of Action
  2   (Breach of the Covenant of Good Faith and Fair Dealing — Against Standard Fire and DOES 1-10)
  3            21.    Mr. Young re-alleges and incorporates by reference the general allegations of
  4   paragraphs 1-20 as though fully set forth herein.
  5            22.    A valid insurance contract, the Policy, existed and was in full effect at all relevant
  6   times.

  7            23.    Arising out of the Policy, Standard Fire owed Mr. Young a duty of good faith and
  8   fair dealing.

  9            24.    Standard Fire breached its respective duty in its adjustment of the Claim. For
10 ~xample, by:
11                    a. Consciously and unreasonably withholding benefits due on account of the Loss
 12                       on the basis that the weight of snow and ice on the roof did not cause the
13                        Property's damage when this was readily apparent in violation of Cal. Ins.
—14                      -Code § -790.03(h)(5); —                           — —           —
15                    b. Consciously and unreasonably setting out to create a plausible sounding but
16                        false basis upon which to underpay the Claim in violation of 10 Cal. Code.
17                        Regs. 2695.7(d);
18                    c. Consciously and unreasonably failing to thoroughly and fairly investigate all
19                        information available in violation of Cal. Ins. Code § 790.03(h)(3);
20                    d. Consciously and unreasonably delaying, refusing and continuing to refuse to
21                        pay benefits it knows are owed in violation of Cal. Ins. Code § 790.03(h)(6);
22                    e. Consciously and unreasonably refusing to fully investigate the Loss in good
23                        faith;
24                    f. Consciously and unreasonably refusing to give Mr. Young's interests at least
25                        as much as its own;
26                    g. Consciously and unreasonably failing to adopt and implement reasonable or
27                        proper standards for the prompt and fair investigation of the Claim;
28


                                                          5
                                                  COMPLAINT
     Case 2:24-cv-03432-DC-AC Document 1-1 Filed 12/10/24 Page 10 of 64


 1                  h. Consciously and unreasonably failing to attempt in good faith to effectuate a
 2                      prompt, fair and equitable settlement of the Claim even though liability for it
 3                      was and is reasonably clear; amongst other unreasonable actions.
 4          25.    Said conduct included unfair and deceptive acts or practices and unfair methods of
 5 competition as part of a pattern and practice of improper claims administration.
 6          26.    As a proximate cause of Standard Fire's breach, Mr. Young has been deprived of
 7 insurance benefits owed, incurred attorneys' fees, public adjuster fees, and engineering fees in
 8 pursuing the coverage owed, amongst other consequential damages.
 9          27.    Furthermore, Standard Fire is liable for punitive damages as set forth above.
10
11                                       PRAYER FOR RELIEF
12          WHEREFORE, Mr. Young prays for judgment as follows:
13      1. For compensatory damages according to proof;
     - —2.—For-prejudgment-and-postjudgment-interest-according to proof; -- — —
15      3. For reasonable attorneys' fees and cost of suit;
16      4. For consequential damages;
17      5. For punitive damages; and
18      6. For such other and further relief as the Court deems just and proper.
19
20 Dated: October 24, 2024                                     MERLIN LAW GROUP
21
22                                                                    o ::; -
                                              By:
23                                                                 DANIEL J. VEROFF
                                                                 VICTOR J. JACOBELLIS
24                                                                     RUDY TAP
                                                                   Attorneysfor Plaintiff
25                                                                    JACK YOUNG
26
27
28


                                                      6
                                               COMPLAINT
     Case 2:24-cv-03432-DC-AC Document 1-1 Filed 12/10/24 Page 11 of 64



 1                                    JURY TRIAL AND DEMAND
 2           Mr. Young herein demands a jury trial of all claims and causes of action in this lawsuit.
 3

 4
     ~ Dated: October 24, 2024                                  MERLIN LAW GROUP
 5

 6
                                                                       ~    ~---,.
 7                                              By:
                                                                   DANIEL J. VEROFF
 8                                                               VICTOR J. JACOBELLIS
                                                                       RUDY TAP
 9                                                                 Attorneysfor Plaintiff
                                                                      JACK YOUNG
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                                                      7
                                                COMPLAINT
Case 2:24-cv-03432-DC-AC Document 1-1 Filed 12/10/24 Page 12 of 64




                     EXHIBIT 1
                                Case 2:24-cv-03432-DC-AC Document 1-1 Filed 12/10/24 Page 13 of 64



                                                  .             .    ...   ........... ....     ..   ...    . . ..     ,.. .       ..,     _.., ........-.     ......... ..........              . .... . .. .. ......_..
                                                                                                                                                                                 ..................                              . .__   ...     . .   .. .. .. ..       .    . ....




                                                    ~
                                            TRAVELERSJ



                                            This is to certify that this is a reproduction, from the
                                            company's records, of the insurance policy between the
                                            insured and the insuring company as described on the
                                            Declarations Page. It is a full, #rue and complete
                                            reproduction of the insurance policy: No additional
                                            insurance is afforded by this copy.                                                                                                                          •




                                            Signature:




                                                                                                                   9




                                            Date: 9.26.2024




                                                                                                                                                                                     TRAVELERS DOC MGMT Page 1 of 64


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`                                       .             .   ...


    _. . ...... ;... . . ...   ......................._. :..:........_......;,.u.~:..:..:: ..        .     : ~. .w......:. ,..:..~. :.~.... _:......:        :: .....:.:.:     _.........._..,..x....._ . ..... ....~ ....A .   . .b.._... ~ . . . .........:x:: > . .... . ... . . ..
        Case 2:24-cv-03432-DC-AC Document 1-1 Filed 12/10/24 Page 14 of 64


                                                                                         TRAVELERS J
                           Homeowners Policy Continuation Declarations
     Named Insured and Mailing Address                                           Your Agency's Name and Address
     JACK YOUNG                                                                 MENATH INS AN ALERA GRP
     1048 WASHOAN BLVD                                                          1325 AIRMOTIVE WAY STE 320
     SOUTH LAKE TAHOE, CA 96150-5904                                             RENO. NV 89502
     JACKMAN33@AOL.COM

     Residence Premises
     1048 WASHOAN BLVD
     SOUTH LAKE TAHOE. CA 96150-5904


     Policy information
     Your Policy Number               609751891 6331              For Policy Service                 1.775.831.3132
     Your Account Number              994780768                   For Claim Service                  1.800.252.4633
     Your Insurer:                    THE STANDARD FIRE INSURANCE COMPANY
                                      a subsidiary or affiliate of The Travelers Indemnity Company
                                      One Tower Square, Hartford, CT 06183



     The policy period is from October 9, 2022 at 12:01 A.M. STANDARD TIME to October 9, 2023 at 12:01 A.M.
     STANDARD TIME at the residence premises.
                        _.__...._....~............ .......n_ .........        ~_.
                                                                                   .
     ïotai. .remiui-n for.this i'Qlicy: .                                                                   "~2o587.IDi7.
     This
      .   IS.not a biii. You wi11 be`biiled separateiy for thi'~trarisaction.
--        ..._. .-- -. .

     ~iscounts
     The following discounts reduced your premium:
        Loss Free                             Fire Protective Device

     Savings Reflected in Your Total Premium:                                                                 $2d?2.0fl

     Coverages and Limits of Liability
      Property Coverage Section                                                                 Limit
      Coverage A — Dwelling                                                                     $607.000
      Coverage B — Other Structures                                                             $60,700
      Coverage C — Personal Property                                                            $406,872
      Coverage D — Loss of Use                                                                  $174.513
      Liability Coverage Section                                                                Lirrait
      Coverage E — Personal Liability - Bodily injury and Property Damage (each occurrence) $300,000
      Coverage F — Medical Payments to Others (each person)                                     $5.000




                                                                                                            Page D-1



                                                                                TRAVELERS DOC MGMT Page 3 of 64
    Case 2:24-cv-03432-DC-AC Document 1-1 Filed 12/10/24 Page 15 of 64


                                                                                             TRAVELERS J
Named Insured JACK YOUNG                                                                   Policy Number 609751891 633 1
Policy Period  October 9. 2022 to October 9, 2023                                          Issued On Date August 22. 2022

    Liability — Additional Coverages                                                                Limit
    Damage to Property of Others                                                                    $5,000
    Loss Assessment                                                                                 $1,000
   Ptease review your poticy for other Personat Property Special Limits of Liabitity and Additiona! Coverages that may appty.

Optional Coverages
   Optional Coverages                                                      Endorsement               Limit          Premium
   Personal Injury Coverage                                                HQ-082 CW (02-19)                        $14.00
   Water Back Up and Sump Discharge or Overflow Coverage                   HQ-208 CW (08-20)        $10,000         Includedt
   Personal Property Replacement Cost Loss Settlement                      HQ-290 CA (04-20)                        Included'
   Additional Replacement Cost Protection Coverage                         HQ-420 CA (11-18)        $151.750        Included*
      25% of Coverage A- Dwelling Limit
   Wildfire Defense Services                                               HQ-710 CA (05-17)                        Inciuded'

                      • Note: The additional cost or premium reduction for any optionat coverage or package
                              shown as "lnctuded"Ts contained in the Total Poticy Premium Arnount.


Required Forms and Endorsements Included in Your Policy:                                                         Form: 633
   Policy Quick Reference                                                   HQ-T77 CW (05-17)
    Agreement, Definitions & Policy Conditions                              HQ-D77 CW (05-17)
   Property Coverage Section                                                HQ-P03 CW (05-17)
   Liabi)ity Coverage Section _ —    _-        —                         _— HQ-L7-7-CW-(05-1-7)------ ---------
  Signature Page                                                            HQ-S99 CW (05-17)
   Specia6 Provisions - California                                          HQ-300 CA (07-21)
    Workers Compensation Residence Employees                                HQ-090 CA (05-17)


      TFte t3eclarations.atorog.wfth the Optfonal Coverages;Optiotiaii Packages and Requirec@  :....~orms ai6d:\
    ,  .. .           Endorsements:
                  ,. ..,     ,"...     lis~sl:above:forin: our
                                                          Y:   Honeowroers insoranco iPoNi~3f~
                                   Piease keeP tftese documents for reference

information About Your Property
There are many factors that determine the premium on your policy, some of which are displayed below. If you
would like a policy review, please contact your agent or Travelers Representative.

Year Built:                             Garage Type:                            Pool:
# of Families:                          Square Footage:                         Age of Roof: 17

Issued on 08-22-2022




PL-50355 CA (05-17)                                       Insured Copy                                            Page D-3
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                                                                                 TRAVELERS DOC MGMT Page 5 of 64
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                                                                                                                                  HQ-T77 CW (05-17)

                                                TRAVELERS INSURANCE POLICY


                                 YOUR HOMEOWNERS POLICY QUICK REFERENCE


                                                                                                                                     Beginning
                                                                                                                                     on Page
HOMEOWNERS POLICY DECLARATIONS ...................................................................................... D•1
  NAMED INSURED AND MAILING ADDRESS
  LOCATION OF YOUR RESIDENCE PREMISES
  YOUR AGENCY'S NAME AND ADDRESS
  MORTGAGEE NAME AND ADDRESS
  POLICY INFORMATION
  DISCOUNTS
  COVERAGES AND LIMITS OF LIABILITY
  DEDUCTIBLES

AGREEMENT..................................................................................................................................... A-1
DUTY TO REPORT CHANGES IN EXPOSURE ................................................................................. A-1
DEFINITIONS..................................................................................................................................... A-1
POLICYCONDITIONS ......................................................................»...................................:........... A-4
PROPERTY COVERAGE SECTION
  PROPERTY COVERAGE A - DWELLING ................................................................................... P-1
  PROPERTY COVERAGE B - OTHER STRUCTURES................................................................. P-1
  PERILS INSURED AGAINST
      PROPERTY COVERAGE A - DWELLING
      PROPERTY COVERAGE B - OTHER STRUCTURES ......................................................... P-1
  PROPERTY COVERAGE C - PERSONAL PROPERTY .............................................................. P-3
  PERILS INSURED AGAINST
      PROPERTY COVERAGE C - PERSONAL PROPERTY....................................................... P-5
  PROPERTY COVERAGE D - LOSS OF USE ....................:......................................................... P-b
  PROPERTY - ADDITIONAL COVERAGES.................................................................................. P-7
  PROPERTY - EXCLUSIONS..................................................................................................:.... P-11
  PROPERTY- CONDITIONS........................................................................................................ P-14
LIABILITY COVERAGE SECTION
   LIABILITY COVERAGE E - PERSONAL LIABILITY.................................................................... L-1
   LIABILITY COVERAGE F - MEDICAL PAYMENTS TO OTHERS ............................................... L-1
   LIABILITY - ADDITIONAL COVERAGES .................................................................................... L-1
   LIABILITY- EXCLUSIONS .......................................................................................................... L-3
   LIABILITY - CONDITIONS........................................................................:.................................. L-8
SIGNATUREPAGE ........................................................................................................................... 5-1
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                                                                                              HQ-D77 CW (05•17)

                                     TRAVELERS INSURANCE POLICY
                                      The Standard Fire Insurance Company
                                   One Tower Square, Hartford, Connecticut 06183
                                          (A Stock insurance Company)

                                                 AGREENIENT
We will provide the insurance described in this policy in return for the premium and compliance with all applicable
provisions of this policy.

                              DUTY TO REPORT CHANGES IN EXPOSURE
You or an "insured" must notify us when:                   5. There is a change to the use of the "residence
1. There is a change to the mailing or "residence              premises" with respect to "business" conducted
   premises" address shown in the Declarations;                or rental activity;
2. A named "insured" no longer resides on the              6. An addition, alteration or renovation is made to a
   "residence premises" or a person or persons                dwelling or other building on the "residence
   begin to reside on the "residence premises":               premises"; or
3. A named "insured" dies;                                    A named "insured" acquires a replacement or
                                                           7'
                                                              additional residential property.
4. Title to or ownership of the "residence premises"
   changes;                                                If you fail to report a change relating to the insured
                                                           property within 60 days, it may result in denial of
                                                           coverage under this policy.

                                                 DEFINITIONS
In this policy, you and your refer to:                     In this policy, certain words and phrases are in
 — a: The     named —"insured" shown in the                quates. Thosewordsarid ph~asesaredefined as
       Declarations; and                                   follows:
    b. The spouse if a resident of the same                1. "Aircraft" means any device used or designed for
       household. The term spouse includes, if a                flight, including any:
       resident of the same household:                          a. Unmanned flying device, self-propelled
        (1) The civil partner of the named "insured",                missile or spacecraft: and
            provided such civil union was obtained in           b. Accessory, equipment or part for such
            a state where a civil union is legally                   device, whether or not attached to the device.
            recognized; or
        (2) The domestic partner of the named                  Under Property Coverage C — Personal Property,
            "insured", provided such domestic                  Liability Coverage E — Personal Liability, Liability
            partner was in a continuing spouse-like            Coverage F — Medical Payments to Others and
            relationship w"ith the named "insured" for         Liability — Additional Coverages, "aircraft" does
            the purpose of a domestic life. Both               not include any unmanned flying device that:
            persons must be 18, years of age or older          a. Is used or operated for recreational purposes
            and may not be related to each other by                only; and
            blood. Neither may be married to another           b. Weighs`less than 10 pounds with or without
            person, or be a domestic partner or                    any accessory, equipment or part attached.
            partner by civil union of any other person,
In this policy, we, us and our refer to the member         2. "Aircraft Liability", "Hovercraft Liability". "Motor
                                                              Vehicle Liability" and "Watercraft Liability" mean
company of Travelers providing this insurance and
shown as Your Insurer in the Dedarations,                     liability for "bodily injury" or "property damage"
                                                              arising out of the:
                                                              a. Ownership of such vehicte or craft by an
                                                                  "insured";
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                                                                                                               HQ-D77 CW (05-17)

        (2) 21 and in your care or the care of a                           h. Any part of a premises occasionally rented to
            person described in 9.a.(1); or                                   an "insured" for other than "business" use;
    c. Any Additional Insured named in the                                 i.   Any premises owned by you and rented to
       Declarations, but only with respect to                                   others for use as a residence by not more
       Coverages A, B. E and F if applicable to your                            than four families, if shown in the
       policy and only for the "residence premises".                            Declarations as an Additional Residence
    d. Under the Liability Coverage Section:                                    Rented to Others; or
        (1) With respect to animals or watercraft to                       j.   Any other structure on the "residence
            which this policy applies, any person or                            premises" rented to others as a private
            organization legally responsible for these                          residence if a limit of tiability is shown in the
            animals or watercraft which are owned by                            Declarations as Structures Rented to Others.
            you or any person included in 9.a. or b.
                                                                      11. "Motor vehide" means:
            "Insured" does not mean a person or
            organization using or having custody of                        a. A self-propelled fand or amphibious vetticle;
            these animals or watercraft in the course                         or
            of any "business" or without consent of                        b. Any trailer or semi-trailer which is being
            the owner; or                                                     carried on, towed by or hitched for towing by
        (2) With respect to any vehicle to which this                         a vehicle described in 11.a.
            policy applies:
                                                                           "Motor vehicle" does not indude model, hobby or
            (a) Persons while engaged in your                              children's toy vehicles.
                employ or that of any person
                included in 9.a. or b.; or                            12. "Occurrence" means an accident, induding
                                                                          continuous or repeated exposure to substantially
            (b) Other persons using the vehicle on
                an "insured location" with your                           the same general harmful conditions, which
                consent.                                                  results during the policy period, in:
                                                                           a. "Bodily injury"; or
  Under both the Property and Liability Coverage
                                                                           b,_P-roperty-damage"—
—Sections—of—this—policy-whentheword an
  immediateiy precedes the word "insured", the
                                                                      13. "Pollutants" means any solid, liquid, gaseous or
  words an "insured" together mean one or more
                                                                          thermal irritant or contaminant, including smoke,
  "insureds".
                                                                          vapor, soot, fumes, acids, alkalis, chemicals,
10. "Insured location" means:                                             waste and any unhealthful or hazardous building
                                                                          materials. Waste includes materials to be
   a.   The "residence premises";                                         recycled. reconditioned or rectaimed.
   b. The part of other premises, other structures
      and grounds used by you as a residence and:                    14. "Property damage" means physical injury to,
                                                                         destruction of, or loss of use of tangible property,
        (1) Which is shown in the Dec►arations; or
        (2) Which is acquired by you during the                      15. "Residence employee" means:
            policy period for your use as a residence;                     a. An employee of an "insured", or an employee
   c. Any premises used by you in connection with                             leased to an "insured" by a labor leasing firm
      a premises described in 10.a. and b.;                                   under an agreement between an "insured"
                                                                              and the labor leasing firm. if the employee's
   d. Any part of a premises:                                                 duties are related to the maintenance or use
        (1) Not owned by an "insured"; and                                    of the "residence premises", including
                                                                              household or domestic services; or
        (2) Where an       "insured"      is    temporarily
            residing;                                                     b. One who performs similar duties elsewhere
                                                                             not related to the "business" of an "insured:"
   e. Vacant land, other than farm tand, owned by
      or rented to an "insured";                                          A"residence employee" does not include a
   f. Land owned by or rented to an "insured" on                          temporary employee who is furnished to an
      which a one or two family dwelling is being                         "insured" to substitute for a permanent "residence
      built as a residence for an "insured";                              employee" on leave or to meet seasonal or short-
                                                                          term workload conditions.
   9• Individual or family cemetery plots or burial
      vaults of an "insured":


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                                                                                                                     HQ-D77 CW (0S-17)

              If specific Cancellation provisions apply in                  7. Subrogation. An "insured" may waive in writing
              your state. they will appear in the Special                      before a loss all rights of recovery against any
              Provisions Endorsement that is part of this                      person. If not waived, we may require an
              policy.                                                          assignment of rights of recovery for a loss to the
                                                                               extent that payment is made by us.
          c. When this policy is cancelled, the premium
             for the period from the date of cancellation to                     If an assignment is sought, an "insured" must sign
             the expiration date will be refunded pro rata.                      and deliver all related papers and cooperate with
          d. If the return premium is not refunded with the                      us.
             notice of canceltation or when this policy is
             retumed to us, we will refund it within a                           5ubrogation does not apply under the Liabflity
             reasonable time after the date cancellation                         Coverage 5ection to Medical Payments to Others
             takes effect.                                                       or Damage to Property of Others.

      5. Nonrenewal. We may elect not to renew this                         8. Death. If any person named in the Declarations
         policy. We may do so by delivering to you,                            or the spouse, if a resident of the same
         electronically transmittlng to you, if permissible by                 househoid, dies:
         law, or mailing to you at the mailing address                         a. We insure the legal representative of the
         shown in the Declarations, written notice at least                       deceased but only with respect to the
         30 days before the expiration date of this policy.                       premises and property of the deceased
         Proof of mailing or electronic transmission wili be                      covered under the policy at the time of death;
         sufficient proof of notice. We will also deiiver or                      and
         mail a copy of the notice to any Additional Insured
                                                                                 b. "Insured" will then also include:
         named in the Declarations.
                                                                                    (1) An "insured" who is a member of your
          If we offer to renew and you or your                                           household at the time of your death, but
          representative do not accept, this policy will                                 only while a resident of the "residence
          automatically terminate without notice of                                      premises"; and
          termination at the end of the current policy period.                      (2) With respect to your property, the person
          Failure to pay the required renewal premium                                 --having-proper--temporary-custody-of the--
--                                                                          _     J_
                                                                                                                                         -
      --- when due shall-mean thafyouhaveriot accepted                                   property      until    appointment       and
          our offer.                                                                     qualification of a legal representative.
         If specific Nonrenewal provisions apply in your
         state, they wiii appear in the Special Provisions
         Endorsementthat is part of this policy.

      6. Assignment. Assignment of this policy is void
         unless we give our written consent. We, as the
         non-assigning party, will not recognize any
         assignment of this policy untess our written
         consent is provided.




      HQ-D77 CW (05-17)                                                                                                    Page A5
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.v.
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                                                                                                              HQ-P03 CW (05-17)

                         TRAVELERS HONIEOWNERS INSURANCE POLICY

                                      PROPERTY COVERAGE SECTION
                                  PROPERTY COVERAGE A ® DWELLING
1. We cover:                                                                    alter or repair the dwelling or other structures
    a. The dwelling on the "residence premises"                                 on the "residence premises".
       shown in the Dedarations, including
       structures attached to the dwelling; and                       2. We do not cover land, including land on which the
                                                                         dwelling is located.
    b. Materials and supplies located on or next to
        the "residence premises" used to construct,

                        PROPERTY COVERAGE B - OTHER STRUCTURES
1. We cover other structures on the "residence                                  a private residence for which a limit of liability
   premises" set apart from the dwelling by clear                               is shown in the Dedarations for Structures
   space. This includes structures connected to the                             Rented to Others;
   dwelling by only a fence, utility line or similar
                                                                           c. Other structures from which any "business" is
   connection. It also indudes other structures that
                                                                              conducted; or
   are not buildings, including driveways, walkways
   and patios.                                                             d. Other structures used to store "business"
                                                                              property. We do cover a structure that
2. We do not cover:                                                           contains "business" property solely owned by
    a. Land, including land on which the other                                  an "insured" or a tenant of the dwelling
                                                                                provided that "business" property does not
        structures are located;
                                                                                indude gaseous or liquid fuet, other than fuel
    b. Other structures rented or held for rental to                            in a permanently installed fuel tank of a
        any_person_not-a_tenant--of_the-dwelling,-                             -vehicle-or-craft--parked - or--stored- in- the
        unless used sole#y as a private garage. We                              structure.
        do cover other structures rented to others as

                                PERILS INSURED AGAINST
                            PROPERTY COVERAGE A- DWELLING
                        PROPERTY COVERAGE B- OTHER STRUCTURES
1. We insure against direct physical Ioss to property                                (b) Shut off the water supply and drain
   described in Property Coverages A and B.                                              ail systems and appliances of water.

2. We do not insure for toss:                                                       If the building is protected by an
    a. Excluded under Property - Exdusions;                                         automatic fire protective          sprinkler
                                                                                    system, you must use reasonable care to
    b. InvoEving collapse - or danger of collapse,                                  continue the water supply and maintain
       except as provided in Property - Additional                                  heat in the building for coverage to apply.
       Coverage 9. Collapse: or
    c. Caused by:                                                                   For purposes of this provision, a
                                                                                    plumbing system or household appliance
       (1) Freezing of a plumbing, heating, air                                     does not include a sump, sump pump or
           conditioning or automatic fire protective                                 related equipment or any other system
           sprinkler system or of a household                                       designed to remove surface or
           appliance, or by discharge, leakage or                                   subsurface water, roof drain, gutter,
           overflow from within the system or                                       downspout or similar fixtures or
           appliance caused by freezing. This                                       equipment;
           exclusion does not apply if you have
           used reasonabte care to:                                            (2) Freezing, thawing, pressure or weight of
                                                                                   water, ice or snow, whether driven by
           (a) Maintain heat in the building; or                                   wind or not, to a:



HQ-P03 CW (05-17)                                                                                                   Page P-1
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                                                                                                              HQ-P03 CW (05-17)

            subsurface water, roof drain. gutter,                          Under Perils Insured Against 2.b. and c., any
            down spout or similar fixtures or                              ensuing loss to property described in Property
            equipment.                                                     Coverages A and B not excluded by any other
                                                                           provision in this policy is covered.

                        PROPERTY COVERAGE C - PERSOMAL PROPERTY
1. Covered Property. We cover personal property                                 (2) Removed, for a period of 60 days or less,
   owned or used by an "insured" while it is                          .             from   the     "residence     premises"
   anywhere in the wortd. At your request, we will                                  endangered by a Peril Insured Against;
   cover personat property owned by:                                                or
   a. Others while the property is on the part of the                           (3) Usually located in an "insured's"
      "residence premises" occupied by an                                           residence, other than the "residence
      "insured"; or                                                                 premises".
   b. A guest or a "residence employee", while the
      property is in any residence occupied by an                     3. Special Limits of Liability. The following
      "insured".                                                         categories of personal property are covered only
                                                                         up to the Special Limits of Liability indicated
This request may be made after a loss.                                   below or shown in the Declarations. The special
                                                                         limit for each category described below is the total
2. Limit for Property at Other Locations.                                limit for each loss for all property in that category.
                                                                         These special limits do not increase the Property
  a. Other Residences.                                                   Coverage C limit of liability.
     Our limit of liability for personal property
     usually located at an "insured's" residence,                          a. Money, bank notes, bullion, gold other than
     other than the "residence premises", is 10%                              goldware, silver other than silverware,
     of the Iimit of liability for Property Coverage                          platinum other than platinumware, coins,
     C, or $1,000, whichever is greater. This                                 medals, scrip, stored value cards, smart
     limitation does not apply to personal property:                          cards, gift certificates, digital currency and
— (1) Movedfrom the "residence premises"                                   — any--related—currenciesused inplaceof
                                                                              money.
          because the "residence premises" is:
                                                                           b. Securities, accounts, deeds, evidence of
           (a) Being repaired, renovated or rebuilt;
                                                                              debt, letters of credit, notes other than bank
               and
                                                                              notes, manuscripts, passports, tickets and
           (b) Not fit to live in or store property in;                       stamps.This limit includes the cost to
       (2) Removed, for a period of 60 days or less,                          research, replace or restore information from
           from   the     "residence     premises"                            the lost or damaged material.
           endangered by a Peril Insured Against;                          c. Comic books and trading cards, including
           or                                                                 sport cards, game cards and non-sports
                                                                              cards.
       (3) in a newly acquired principal residence
           for 60 days from the time you begin to                          d. Collectibles, including figurines, glassware,
           move the property there.                                           marble, porcelains, statuary and similar
                                                                              articles,
   b. Storage Facilities.
      Our limit of fiability for personal property                         e. Loss by theft of jewelry, watches, precious
      owned or used by an "insured" and located in                            and semiprecious stones.
      a storage facility is 10% of the limit of liability                 f.    Loss by theft of furs.
      for Property Coverage C, or $1.000,
                                                                          g. Loss by theft of silverware, silver-plated
      whichever is greater. This limitation does not
                                                                             ware,     goidware,     gold-plated      ware,
      apply to personal property:                                            platinumware, platinum-plated ware and
       (1) Moved from the "residence premises"                               pewterware.    This     includes     flatware,
           because the "residence premises" is:                              hollowware, tea sets, trays and trophies
                                                                             made of or induding silver, gold, platinum or
           (a) Being repaired, renovated or rebuilt;
                                                                             pewter. •
               and
                                                                          h. Loss by theft of firearms and related
           (b) Not fit to live in or store property in;
                                                                             equipment.



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     j.   Credit cards, electronic fund transfer cards or           k. Grave markers, except as provided in
          access devices used solely for deposit,                      Property - Additional Coverage 13. Grave
          withdrawal or transfer of funds except as                    Markers; or
          provided in Property - Additional Coverage 7.
          Credit Card, Electronic Fund Transfer Card                I.   Water or steam.
          or Access Device, Forgery and Counterfeit
          Money;

                                  PERILS INSURED AGAINST
                         PROPERTY COVERAGE C - PERSONAL PROPERTY
We insure for direct physical loss to the property                  days immediately before the loss regardless of
described in Property Coverage C caused by any of                   the poiicys inception or renewal date.
the following perils, unless the loss is excluded in
Property - Exclusions.                                          9. Theft
                                                                    a. This peril includes attempted theft and loss of
1. Fire or Lightning.
                                                                       property from a known place when it is likely
2. Windstorm or Hail.                                                  that the property has been stolen.
     This peril includes loss to watercraft and their               b. This peril does not include loss caused by
     trailers, furnishings, accessories, equipment,                    theft:
     parts and outboard engines or motors, only while                    (1) Committed by an "insured";
     inside a fully enciosed buiiding.
                                                                         (2) In or to a dwelling under construction, or
     This peril does not indude loss to property                             of materials and supplies for use in the
     contained in a building caused by rain, snow,                           construction until the dwelling is finished
     sleet, sand or dust unless the direct force of wind                     and occupied;
     or hail damages the building, causing an opening                    (3) From that part of a"residence premises"
     in a roof or wall and the rain, snow, sleet, sand or                    rented by an "insured" to someone other
     dust-enters-through this-opening—                      —            -- than-another "insured";                  —
                                                                         (4) Anywhere on the "residence premises"
3. Explosion.
                                                                             when any portion is rented by an
4. Riot or Civil Commotion.                                                  "insured" to someone other than another
                                                                             "insured" for a continuous period of less
S. Aircraft:.                                                                than 30 days; or
     This peril includes remotely operated, unmanned                     (S) That occurs off the "residence premises"
     flying device, setf-propelted missile or spacecraft.                    of:
                                                                             (a) Trailers, semitrailers and campers;
6. Vehicles.
                                                                            (b) Watercraft,      including      their
                                                                                furnishings, accessories, equipment,
7,   Smoke.
                                                                                parts and outboard engines or
     This peril means sudden and accidental damage                              motors; or
     from smoke, including the emission or puffback of
     smoke, soot, fumes or vapors from a boiler,                            (c) Property while at any other residence
     furnace or related equipment.                                              owned by, rented to or occupied by
                                                                                an "insured", except while an
     This peril does not include loss caused by smoke                           "insured" is temporarily living there.
     from the manufacture of controlled substances,                             Property of an "insured", who is a
     agricultural smudging or industrial operations.                            student, is covered white at the
                                                                                residence the student occupies to
8. Vandalism or Malicious Mischief.                                             attend school as long as the student
                                                                                has been there at any time during the
   This peril does not include loss to property                                 90 days immediately before the loss.
   caused by vandalism and malicious mischief, and
   any ensuing loss caused by any intentional and               10. Falling Objects.
   wrongful act committed in the course of the
   vandalism or malicious mischief, if the dwelling                 This peril does not, include loss to property
   has been "vacant" for more than 60 consecutive                   contained in a building unless the roof or an
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         2. Fair Rental Value. If a loss covered under the            3. Civil Authority Prohibits Use. If a civil authority
            Property Coverage Section makes that part of the             prohibits you from use of the "residence
            "residence premises" rented to others or held for            premises" as a result of direct physical damage
            rental by you not fit to live in, we cover the amount        to neighboring premises caused by a Peril
            of fair rental value of such premises lost, less any         Insured Against under this poiicy, we cover
            expenses that do not continue while it is not fit to         resulting 1. Additional Living Expense and 2. Fair
            live in.                                                     Rental Value as provided above for no more than
                                                                         30 days. Neighboring premises means a
            Coverage under Fair Rental Value will only apply             premises in sufficient proximity to the "residence
            when that part of the "residence premises" is held
                                                                         premises" that there exists a reasonable risk that
            for rental or rented to others for a term of 6               the damage affecting the neighboring premises
            consecutive months or more by the same roomer,               could endanger either the "residence premises"
            boarder, tenant or other occupant who provides               or the safety of its occupants while in the
            compensation to an "insured".                                "residence premises".          -
            Payment will be for the shortest time required to
                                                                      The periods of time under 1. Additional Living
            repair or replace such premises, but for no more
                                                                      Expense. 2. Fair Rental Value and 3. Civil Authority
            than 24 months.
                                                                      Prohibits Use above are not limited by expiration of
            Written proof that part of the "residence premises"       this policy.
            is rented, was held for rental at the time of loss or
            has been rented within the 12 months prior to the         4. Loss or Expense Not Covered. We do not cover
            date of loss is required.                                    loss or expense due to cancellation of a lease or
                                                                         agreement.

                                         PROPERTY - ADDITIONAL COVERAGES

        Unless otherwise stated, the following coverages are             premises" as a result of a Peril Insured Against,
        additional insurance and are subject to the applicable           provided the tree(s):
        deductible.
                                                                         a. Damage(s) a cov_eredstructure;_or_-- —
--   — 1.   Debris Removal. We will pay your reasonable                  b. Do(es) not damage a covered structure, but:
            expense for the removal of debris of covered
                                                                             (1) Block(s) a driveway on the "residence
            property if a Peril Insured Against that applies to
                                                                                 premises" which prevent(s) a "motor
            the damaged property causes the loss.
                                                                                 vehicie", that is registered for use on
            This expense is included in the limit of liability that              public roads or property, from entering or
            applies to the damaged property. tf the amount to                    leaving the "residence premises"; or
            be paid for the actual damage to the property plus               (2) Block(s) a ramp or other fixture designed
            the debris removal expense is more than the limit                    to assist a person to enter or leave the
            of liability for the damaged property, an additional                 dwelling buiiding.
            percentage, as shown in the Declarations for this
            Property — Additional Coverage, of that limit is             The Per Loss Limit shown in the Deciarations for
            available for such expense.                                  this Property — Additional Coverage is the most
                                                                         we will pay in any one loss regardless of the
            We do not pay for the removal of trees except as             number of fallen trees. No more than the Per Tree
            provided under Property — Additional Coverage 2.             Limit shown in the Declarations for this Property -
            Tree Removai. We also do not pay for:                        Additional Coverage will be paid for the removal
                                                                         of any one tree.
            a. Extraction of "pollutants" from land or water;
               or
                                                                      3. Reasonable Repairs.
            b. Removal, restoration        or   replacement     of       a. We will pay the reasonable cost incurred by
               polluted land or water.
                                                                            you for the necessary measures taken solely
                                                                            to protect covered property that is damaged
        2. Tree Removal. We will pay your reasonable
                                                                            by a Peril Insured Against from further
           expense, up to the limit shown in the Declarations
                                                                            damage.
           for this Property - Additional Coverage, for the
           removal of trees fallen on the "residence                     b.. If the measures taken involve repair to other
                                                                             damaged property, we wiil pay only if that



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8. Loss Assessment:.                                                                of collapse even if it shows evidence of
    a. We will pay up to the limit shown in the                                     cracking, bulging, sagging. bending,
       Declarations for this Property - Additional                                  leaning, settling, shrinkage or expansion,
       Coverage for your share of loss assessment                         b. We insure for direct physical loss to covered
       charged during the poticy period against you,                         property involving abrupt collapse of a
       as owner or tenant of the "residence                                  building or any part of a building if the
       premises", by a corporation or association of                         collapse was caused by one or more of the
       property owners. The assessment must be                               following:
       made as a result of direct loss to property,
                                                                              (1) A Peril Insured Against under Property
       owned by all members collectively, of the
                                                                                  Coverage C;
       type that would be covered by this policy if
       owned by you, caused by a Peril Insured                                (2) Decay that is hidden) from view, unless
       Against under Property Coverage A.                                         the presence of such decay is known to
                                                                                  an "insured" prior to collapse or there are
       This coverage does not apply to                                            visible signs of damage and the "insured"
       assessments made as a result of damage                                     has not taken prompt action to prevent
       caused by earthquake and other earthquake                                  further damage;
       shocks, including land shock waves or                                  (3) Insect or vermin damage that is hidden
       tremors before, during or after volcanic                                   from view, unless the presence of such
       activity.                                                                  damage is known to an "insured" prior to
                                                                                  collapse;
       We do cover loss caused directly by fire,
       explosion or theft resuiting from earthquake                           (4) Weight of contents, equipment, animals
       and other earthquake shocks.                                               or people;
                                                                              (5) Weight of rain which collects on a roof; or
       The limit shown in the Declarations is the
       most we will pay with respect to any one loss,                         (6) Use of defective material, methods or
       regardless of the number of assessments.                                   faulty, inadequate workmanship in
       We will apply only one deductible, per unit, to                            construction, remodeling or renovation if
       the total amount of any one loss to the                                    the collapse occurs during_ the course of
  --   propertydescribed above,regardless af the                                  the     construction    remodeling     or
       number of assessments.                                                     renovation.
   b. We do not cover assessments charged                                C. Loss to an awning, fence, patio, deck,
      against you or a corporation or association of                        pavement, swimming pool, underground
      property owners by any govemmental body.                              pipe, flue, drain, cesspool, septic tank,
                                                                            footing, foundation, wall, floor, retaining wall,
   c. Property - Condition 16. Policy Period does                           bulkhead, pier, wharf or dock, whether any
      not apply to this coverage.                                           item is wholly or partially above or below
9. Collapse.                                                                ground is not inctuded unde..  r 9 b(2) through
                                                                            (6), unless the loss is a direct resuit of the
   a. With respect to this Property - Additional                            collapse of a building or any part of a building.
      Coverage:
                                                                         d. This coverage does not increase the limit of
       (1) Collapse means an abrupt failing down or                         liability that applies to the damaged covered
           caving in of a building or any part of a                         property.
           building with the result that the building or
           part of the building cannot be occupied                  10. Glass or Safety Clazing Material.
           for its current intended purpose.
                                                                         a. We cover:
       (2) A building or any part of a build"ing that is
           in danger of failing down or caving in is                          (1) The breakage of glass or safety glazing
           not considered to be in a state of                                     material which is part of a covered
           collapse.                                                              building, storm door or storm window;
                                                                                  and
       (3) A part of a building that is standing is not
                                                                            (2) The direct physical loss to covered
           considered to be in a state of collapse
           even if it has separated from another part                           property caused solely by the pieces,
           of the building.                                                     fragments or splinters of broken glass or
                                                                                safety glazing material which is part of a
       (4) A building or any part of a building that is                         building, storm door or storm window.
           standing is not considered to be in a state
                                                                         b. This coverage does not include loss:


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     Payment of the required premium when due for                            b. We will pay under this Property - Additional
     the successive policy term will be sufficient to                             Coverage only if:
     indicate your acceptance o€ the adjusted
     increased limits.                                                            (1) The covered loss occurs during the policy
                                                                                      period;
     We will also adjust the limits of liability at the time                      (2) All reasonable means were used to save
     of a loss by the same percentage pro-rated from                                  and preserve the property at the time of
     the effective date of the policy period or the                               •   and after the covered toss; and
     effective date of change if you have requested a
     change to the limit of liability for Property                                (3) We receive prompt notice of the covered
     Coverage A during the policy period.                                             cause of loss that is alleged to have
                                                                                      resulted in "fungi" or other microbes.
16. Limited   "Fungi"           or      Other       Microbes                 c. The most we will pay under this Property -
    Remediation.                                                                Additional Coverage is the timit of iiability
     a. If a loss covered under the Property                                    shown in the Declarations for Limited "Fungi"
                                                                                or Other Microbes Remediation. This is the
        Coverage Section results in "fungi" or other
        microbes, we will pay up to the limit shown in                          most we wip pay for the total of ali loss or
        the Declarations for this Property - Additionat                         costs during the policy period regardless of
                                                                                the:
        Coverage for:
         (1) Remediation of the "Fungi" or other                                  (1) Number of locations or items of property
             microbes. This inctudes payment for the                                  insured under this policy; or
             reasonable and necessary cost to:                                    (2) Number of losses or claims made.
             (a) Remove the "fungi" or other
                                                                                 Any amount payable under Property
                 microbes from covered property or to
                                                                                 Coverage D as described in 16.a.(2) of this
                 repair, restore or replace that
                 property; and                                                   Property — Additional Coverage is included
                                                                                 within the limit of liability shown in the
             (b) Tear out and replace any part of the                            Declarations for Limited "Fungi" or Other
                 building as needed to gain access to                            Microbes Remediation.
 _    __             "fungi"or_other_microbes;---
                                                                            d.—If~hereis covered Ioss or damage to covered
       (2) Any reasonable and necessary:                                       property, not caused, in whole or in part, by
             (a) Increase in living expense you incur;                         "fungi" or other microbes, loss payment will
                  or                                                           not be limited by the terms of this Property —
                                                                               Additional Coverage, except to the extent
             (b) Loss of fair rental value:                                    that "fungi" or other microbes cause an
             as covered under Property Coverage D —                            increase in the loss. Any such increase in the
             Loss of Use, if the "fYungi" or other                             loss will be subject to the terms of this
             microbes    makes          the    "residence                      Property — Additional Coverage.
             premises" not fit to live in; and                              e. This coverage does not increase the limit of
        (3) Any reasonable and necessary testing or                            liability that appiies to:
            monitoring of air or property to confirm                             (1) The damaged property; or
            the absence, presence or levef of the
            "Fungi" or other microbes, whether                                   (2) Property Coverage D — Loss of Use.
            performed prior to, during or after
            removal,     repair,                                            All other provisions of this poiicy appiy to Property
                                   restoration     or
            repiacement.                                                    — Additional Coverages.


                                             PROPERTY - EXCLUSIONS
A. We do not insure for any direct or indirect loss or                    These exclusions apply whether or not the loss
   damage caused by, resulting from, contributing to                      event:
   or aggravated by any of the following. Such loss
                                                                               (1) Results in widespread damage;
   is exciuded regardless of any other cause or
   event contributing concurrently or in . any                                 (2) Affects a substantial area; or
   sequence to the loss.                                                       (3) Occurs gradually or suddeniy.




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    5. Neglect, meaning neglect of an "insured" to                        10. Governmental       Action,   meaning     the
       use all reasonable means to save and                                   destruction, confiscation or seizure of
       preserve property at and after the time of a                           property described in Property Coverages A,
       loss.                                                                  B or C by order of any governmental or public
                                                                              authority.
    6. War. War includes the following and any
       consequence of any of the following:                                    This exclusion does not apply to such acts
        a. Dedared or undeclared war, civil war,                               ordered by any govemmental or public
           insurrection, rebellion or revolution;                              authority that are taken at the time of a fire to
                                                                               prevent its spread, if the loss caused by fire
        b. Warlike act by a military force or military                         would be covered under this policy.
           personnel; or
        c. Destruction, seizure or use for a military                     11. "Fungi" or Other Microbes, meaning any
           purpose.                                                           loss or cost resulting from, arising out of,
                                                                              caused by, consisting of or related to "Fungi'",
        Discharge of a nuclear weapon, even if the                            other microbes or rot. This exclusion does not
        discharge is accidental, will be deemed a                             appiy to:
        warlike act.                                                           a. "Fungi" or other microbes remediation
                                                                                  coverage that may be afforded under
    7. Nuclear Hazard, meaning any nuclear
                                                                                  Property - Additional Coverage 16.
       reaction,    radiation    or  radioactive                                  Limited "Fungi" or Other Microbes
       contamination, all whether controlled or
                                                                                  Remediation; or
       uncontrolled or however caused, or any
       consequence of any of these.                                            b. "Fungi" or other microbes that results
                                                                                  from fire or lightning.
        Loss caused by nudear reaction, radiation or
        radioactive contamination is not considered                     12. Seepage or Leakage, meaning constant or
        loss caused by fire, explosion or smoke.                            repeated seepage or leakage of water or
                                                                            steam, or the presence or condensation of
        We do cover loss caused directly by fire                            humidity, moisture or vapor, that occurs over
_       resulting-from-any-nuciear-hazard-------                    ---a-period ofweeks, monthš-oryears.

    8. Illegai Activities or Operations, meaning:                             This exclusion applies regardless of the
        a. Illegai growing of plants or the illegal                           source from which the water. steam or
           raising or keeping of animals; or                                  condensation seeped or leaked.

        b. Illegal     manufacture,        production,              B. We do not insure for loss to property described in
           operation or processing of chemical,                        Property Coverages A and B caused by any of
           biological, animal or plant materials or                    the following. However, any ensuing loss to
           any other natural or synthetic substance.                   property described in Property Coverages A and
                                                                       B not excluded by any other provision in this
       This exclusion applies whether or not the                       policy is covered.
       illegal activities or operations described
       above were known to or within the control of                      1. Weather conditions. This exclusion applies
       an "insured".                                                        only if weather conditions contribute in any
                                                                            way with a cause or event excluded in
       We do cover loss caused directiy by fire or                          Property - Exclusion A. to produce the loss.
       explosion resulting from any illegal activities
       or operations described in 8.a. and b.                            2. Acts or decisions, induding the failure to act
                                                                            or decide, of any person, group, organization
    9. tntentionai Loss, meaning any loss arising                           or governmental body.
       out of any act an "insured" commits or
       conspires to commit with the intent to cause                      3. Fauity, inadequate or defective:
       a loss.
                                                                              a. Planning,       zoning,          development,
       In the event of such loss, no "insured" is                                surveying or siting;
       entitled to coverage, even "insureds" who did                          b. Design, specifications, workmanship,
       not commit or conspire to commit the act                                  repair,     construction,    renovation,
       causing the loss.                                                         remodeling, grading or compaction:



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       at actual cash value at the time of loss but not                                 building, which are below the
       more than the amount required to repair or                                       undersurface of the lowest basement
       replace.                                                                         floor;
    b. Buildings covered under Property Coverages                                  (b) Those supports described in (3)(a)
       A or B at replacement cost without deduction                                     which are below the surface of the
       for depreciation, subject to the following:                                      ground inside the foundation walls, if
       (1) If, at the time of loss, the amount of                                       there is no basement; and
            insurance in this policy on the damaged                                (c) Underground flues, pipes, wiring and
            building is 80% or more of the full                                         drains.
            replacement cost of the buiiding
            immediately before the loss, we will pay                           (4) We will pay no more than the actual cash
            the replacement cost, without deduction                                value of the damage untii actual repair or
            for depreciation, but not more than the                                replacement is complete. Once actual
            least of the following amounts:                                        repair or replacement is complete, we will
                                                                                   settle the loss as noted in Property
           (a) The limit of Iiability under this policy                            Condition 3. Loss Settlement b.(1) and
                that applies to the building;                                      b.(2).
           (b) The replacement cost of that nart of
                the building damaged with materials                               If the replacement cost is less than
                of like kind and quality and for like                            $2.500, we will settle the loss as noted in
                use; or                                                          Property — Condition 3. Loss Settlement
                                                                                 b.(1) and b.(2) whether or not actual
            (c) The necessary amount actually                                    repair or replacement is complete.
                spent to repair or replace the
                damaged building.                                            (5) You may disregard Property - Condition
                                                                                 3. Loss Settiement b. and make claim
            If the building is rebuilt at a new                                  under this policy for loss to buildings on
            premises, the cost described in 3.b.(1)(b)                           an actuat cash value basis. You may then
            is limited to the cost which would have                              make claim for any additional liability
            been incurred if the building had been                               according to the provisions of this
  -----built-at-the-original-premises.--- —                                   -- Property- Condition 3. Loss Settlement,
        (2) If. at the time of loss, the amount of                               provided you notify us, within 180 days
            insurance in this policy on the damaged                              after the date of loss, of yaur intent to
            building is iess than 80% of the full                                repair or replace the damaged building.
            replacement cost of the buifding                              c. The amount we will pay to settle a covered
            immediately before the loss, we wili pay                         loss does not include:
            the greater of the following amounts, but
                                                                             (1) Compensation for stigma damage or any
            not more than the limit of liability under
                                                                                 actual or perceived reduction or
            this policy that applies to the building:
                                                                                 diminution in value of such property that
            (a) The actual cash value of that part of                            may remain after repair or replacement;
                 the building damaged; or                                        or
            (b) That proportion of the replacement                             (2) The cost to replace undamaged roofing
                 cost,     without       deduction    for                          materials due to any mismatch between
                 deprec.iation, for that part of the                               the existing undamaged roof on a
                 building damaged, which the total                                 building and new materiais used to repair
                 amount of insurance in this policy on                             or replace the damaged roof on a
                 the damaged building bears to 80%                                 building because of:
                 of the replacement cost of the
                                                                                   (a) Wear and tear, marring, scratching
                 buitding.
                                                                                       or deterioration;
        (3) To determine the amountof insurance                                    (b) Fading. weathering, oxidizing or
            required to equai 80%    o of the full
                                                                                         color;
            replacement cost of the building
            immediately before the loss, we will not                                (c) Texture or dimensional differences;
            include the value of:                                                       or
            (a) Excavations, footings, foundations,                                (d) Obsolescence or discontinuation.
                piers or any other structures or                               (3) The cost to replace undamaged siding
                devices that support att or part of the                            materials due to any mismatch between
                                                                                   the existing undamaged siding on a

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             (3) Submits a signed, sworn statement of                      15. Salvage. We have the option to take the salvage
                 ioss within 60 days after receiving notice                    or remnant part of any covered property for which
                 from us of your failure to do so. Property                    we have made a loss payment for the actual cash
                 Conditions relating to Appraisal, Suit                        value or the replacement cost of the damaged
                 Against Us and Loss Payment apply to                          covered property. At our option, we may allow
                 the mortgagee.                                                you to retain damaged property and will adjust
          c. If we decide to cancel or not to renew this                       any loss payment by the agreed or appraised
             policy, the mortgagee will be notified at least                   value of the salvage or remnant portion of the
             10 days before the date canceiiation or                           damaged property.
             nonrenewal takes effect.
                                                                           16. Policy Period. This policy applies oniy to loss
          d. If we pay the mortgagee for any loss and                          which occurs during the policy period.
             deny payment to you:
             (1) We are subrogated to all the rights of the                17. Concealment or Fraud. We provide coverage to
                 mortgagee granted under the mortgage                          no "insureds" under this poiicy if, whether before
                 on the property; or                                           or after a loss, an "insured" has:
             (2) At our option, we may pay to the                              a. Intentionally concealed or, misrepresented
                 mortgagee the whole principal on the                              any material fact or circumstance;
                 mortgage plus any accrued interest. In                        b. Engaged in fraudulent conduct; or
                 this event, we will receive a full
                 assignment and transfer of the mortgage                        c. Made false statements;
                 and all securities held as collateral to the                   relating to this insurance.
                 mortgage debt.
                                                                           18. Premises Alarm, Security or Fire Protection
          e. Subrogation will not impair the right of the
             mortgagee to recover the full amount of the                       System. When Protective Devices Credit is
                                                                               shown in the Dedarations, you agree to maintain
             mortgagee's claim.
                                                                               any aiarm, security or automatic protection
   13.No Benefit to Bailee. We will not recognize any                          systems, inciuding fire and sprinkler system(s), in
      assignment or grant any coverage that benefits a                         working order. You also agree to advise us
— — —person-ororganization-hoiding,— storingor moving                       —promptiy-of-any-change -inciuding-removai,—made
      property for a fee regardless of any other                               to any of these system(s)_
      provision of this policy.

      14.Recovered Property. If you or we recover any
         property for which we have made payment under
         this policy, you or we will notify the other of the
         recovery. At your option, the property will be
         returned to or retained by you or it wiii become
         our property. If the recovered property is returned
         to or retained by you, the ioss payment will be
         adjusted based on the amount you received for
         the recovered property.




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                                     LIABILITY COVERAGE SECTION

                          LIABILITY COVERAGE E - PERSONAL LIABILITY
if a claim is made or a suit is brought against an        2. Provide a defense at our expense by counsel of
"insured" for damages because of "bodily injury" or          our choice, even if the supt is groundless. false or
"property damage" caused by an "occurrence" to               fraudutent. We may investigate and settle any
which this coverage applies, we will:                        claim or suit that we decide is appropriate. Our
1. Pay up to our limit of liability for the damages for      duty to settle or defend ends when our limit of
   which an "insured" is legally liable. Damages             liability for the "occurrence" is exhausted by the
   include prejudgment interest awarded against an           payment of a judgment or settlement.
   "insured"; and

                  LIABILITY COVERAGE F - MEDICAL PAYMENTS TO OTHERS
We will pay the necessary medical expenses that are       2. To a person off an "insured location", if the "bodily
incurred or medically ascertained within three years          injury":
from the date of an accident causing "bodily injury".
Medicat expenses means reasonable charges for                 a. Arises out of a condition on an "insured
medical, surgical, x-ray. optical, dental, ambulance,            tocation" or the ways immediately adjoining;
hospital, professional nursing, prosthetic devices,           b. Is caused by the activities of an "insured";
chiropractic, rehabilitative. extended care and funeral
                                                              c. Is caused by a "residence employee" in the
services. This coverage does not apply to you or
                                                                 course of the "residence employee's"
regular residents of your household except
                                                                 employment by an "insured"; or
"residence ernployees". As to others, this coverage
applies only:                                                d. is caused by an animat owned by or in the
                                                                care of an "insured".
1. To a person on an "insured location" with the
   permission of an "insured"; or

—           —                 —LIABILITY~ ADDtTlONALCOVERAGES
Unless otherwise stated, we cover the following in        2. First Aid Expenses. We will pay expenses for
addition to the Liability Coverage E and Liability           first aid to others incurred by an "insured" for
Coverage F limits of liability:                              "bodiiy injury" covered under this policy. We will
1. Ciaim Expenses. We pay:                                   not pay for first aid to an "insured".
    a. Expenses we incur and costs taxed against          3. Damage to Property of Others. We will pay
       an "insured" in any suit we defend;                   replacement cost per "occurrence" for "property
    b. Premiums on bonds required in a suit we               darnage" to property of others caused by an
       defend, but not for bond amounts more than            "insured", up to the limit shown in the
       the Coverage E limit of liability. We need not        Declarations for this Liabifity — Additional
       apply for or furnish any bond;                        Coverage.
    c. Reasonable expenses incurred by an                    We wilf not pay for "property damage":
       "insured" at our request, including actual loss
       of eamings (but not loss of other income) up          a. To the extent of any amount recoverable
       to $250 per day, for assisting us in the                 under the Property Coverage Section of this
       investigation or defense of a claim or suit: and         policy;
    d. Interest on the entire judgment which accrues         b. Caused intentionally by an 'insured" who is
       after entry of the judgment and before we pay            13 years of age or older;
       or tender, or deposit in court that part of the       c. To property owned by an "insured";
       judgment which does not exceed the limit of
       liability that applies.                               d. To property owned by or rented to a roomer,
                                                                boarder, tenant or other occupant who
                                                                provides compensation to an "insured" for




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                                              LIABILITY - EXCLUSIONS
 A. Liability Coverage E — Personal Liability and                                compensation during the 12 consecutive
      Coverage F — fUtedical Payments to Others.                                 months prior to an "occurrence".
 Liability Coverages E and F do not apply to the
 following:                                                            3. "Bodily injury" or "property damage" arising out of
                                                                          the actual, alleged or threatened transmission of
 1. "Aircraft Liability".                                                 a communicable disease or illness by an
    This exclusion does not apply to "bodily injury" to                   "insured". This exclusion applies whether the
    a "residence employee" arising out of and in the                      transmission was voluntary or involuntary or
    course      of     the "Yesidence    employee's"                      whether an "insured" knew or should have known
    employment by an "insured".                                           that the infected person was infected with the
                                                                          disease or illness.
 2. "Bodiiy injury" or "property damage" arising out of
    or in connection with a"business" conducted from                    • "Bodily injury" or "property damage" caused by an
    an "insured location" or engaged in by an                             animal owned by or in the care, custody or control
    "insured", whether or not the "business" is owned                     of an "insured" or a guest of an "insured" or, in the
    or operated by an "insured" or employs an                             care, custody or control of a roomer, boarder,
    "insured".                                                            tenant, resident, "residence employee" or guest
                                                                          of such roomer, boarder, tenant or other occupant
    Exclusion A.2. applies to an act or omission,                         of the "residence premises" that is:
    regardless of its nature or circumstance, involving                     a. Wild by birth or by nature or a species not
    a service or duty rendered, promised, owed or                              customarily domesticated;
    implied to be provided because of the nature of
    the "business".                                                         b. Illegal to acquire, own or keep;
                                                                            c. A bird of prey;
    Exclusion A.2. does not apply to:
                                                                            d. Venomous or poisonous; or
    a. The rental or holding for rental of an "insured
        location":                                                          e. A non-human primate.
    -- (1)- Used, inwhafeorin part, as a temporary                     5. "Bodily injury" or "property damage" which is
            place to stay for a total of 30 days or less                  expected or intended by an "insured" even if the
            during the 12 consecutive months prior to                     resulting "bodily injury" or "property damage" is:
            an "occurrence";
                                                                          a. Of a different kind, quality or degree than
        (2) In part for use only as a residence, unless                       initially expected or intended; or
            a single family unit is intended for use by
                                                                           b. Sustained by a different person, entity, real or
            the occupying famiiy to lodge more than
            two roomers, boarders or tenants;                                 personal property, than initially expected or
                                                                              intended.
        (3) In part, as an office, studio or private
            garage;                                                        This exclusion does not apply to "bodily injury" or
        (4) If the "insured location" is shown in the                      "property damage" resulting from the use of
            Declarations as an Additionai Residence                        reasonable force by an "insured" to protect
                                                                           persons or property.
            Rented to Others; or
        (5) If the "insured location" Is shown in the                 6. "Bodily injury' or "property damage" arising out of
            Declarations as Structures Rented to                         the escape or release of fuel from a"fuel system".
            Others;                                                      This exclusion applies to any:
    b. The rental or holding for rental of the                             a. Supervision, instructions, recommendations,
       "residence premises" on a regular basis if                             wamings or advice given in connection with
       Unit Owners Rental is shown in the                                     the above;
       Declarations;
                                                                           b. Obligation to share damages, losses, costs,
    c. An "insured" under the age of 1S years                                 payments or expenses with or repay
       involved in a part-time or occasional, self-                           someone else who must make payment
       employed "business" with no employees; or                              because of such "bodily injury" or "property
    d. One or more activities, for which no "insured"                         damage", damages, loss, cost, payment or
       receives more than $5,000 in total                                     expense; or




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    b. Obligation to share damages, losses, costs,                   (a) A passenger in, upon, or getting in,
       payments or expenses with or repay                                on, out or off the vehide: or
       someone else who must make payment                            (b) Property being transported for a fee
       because of such "bodily injury" or "property                      in or upon the vehicle; or
       damage", damages, loss, cost, payment or
        expense:                                                 (5) Used for any other "business" purpose
                                                                     except for a motorized golf cart used for
    c. Request, order or requirement to test for,                    incidental "business" entertainment while
       monitor, abate, mitigate, remediate, contain,                 on a golfing facility.
       remove, dispose of, or in any way respond to
       or assess the effects of iead, lead pigment,          If "motor vehicle liabiiity" is not excluded under
       lead compounds or materials or substances             Liability.- Exclusion 14.a-c. Liability Coverages E
       containing lead in any form; or                       and F still do not apply to "rnotor vehicle liability"
    d. Loss, cost, payment or expense related to             unless at the time of an "occurrence", the
       any claim, suit, order, defense, demand or            involved "motor vehicle" is:
       investigation of any kind incurred in                 a. In dead storage on an "insured location";
       connection with the above.
                                                             b. Used solely       to   service   an "insured's"
13. "Bodiiy injury" or "property damage" arising out of         residence;
    a premises:                                              c. Designed to assist the handicapped and, at
    a. Owned by an "insured";                                   the time of an "occurrence", it is:
    b. Rented to an "insured"; or                                (1) Being used to assist a handicapped
                                                                     person; or
    c. Rented to others by an "insured":
                                                                 (2) Parked on an "insured location";
    that is not an "insured location".
                                                             d. Designed for recreational use off public roads
     This exciusion does not apply to "bodiiy injury' to        and:
    a residence empioyee ansing out of and in the                (1) Not owned by an "insured"; or
    course      of    the     "residence      empioyee's"
    employment by an "insured",—______—__----                    (2) Owned by an"insured_'-pro~ided._the—
 --         --             — —                                       occurrence" takes place:
14. "Bodily injury" or "property damage" arising out of              (a) On an "insured location"; or
    "motor vehicle liabiiity" if, at the time and place of
    an "occurrence", the involved "motor vehicle" is:                (b) Off all "insured iocations" and the
                                                                         "motor vehicle" is:
    a. Registered for use on public roads or
         property;                                                       (f) Designed as a toy vehicle to be
                                                                             ridden in or upon by children
   b. Not registered for'use on public roads or                              under 7 years of age;
      property, but such registration is required by
      a law, or regulation issued by a government                        (ii) Powered by         one   or   more
      agency, for it to be lawfuiiy used at the piace                         batteries: or
      of the "occurrence"; or                                            (iii) Not built or modified after
   c. Being:                                                                   manufacture to exceed a speed
                                                                               of 5 miles per hour on level
       (1) Operated in, or practicing for, any                                 ground; or
           prearranged or organized race, speed
           contest or other competition:                     e. A motorized golf cart that is owned by an
                                                                "insured", designed to carry up to 4 persons,
       (2) Rented to others;                                    not built or modified after manufacture to
       (3) Used by a roomer, boarder, tenant or                 exceed a speed of 25 miles per hour on level
           other     occupant       who     provide             ground and, at the time of an "occurrence", is
           compensation to an "insured" for use of              wlthin the legal boundaries of:
           all or part of the "residence premises"              (1) A golfing facility and is parked or stored
           including guests of any such roomers,                    there, or being used by an "insured" to:
           boarders, tenants or other occupants;
                                                                    (a) Play the game of golf or for other
       (4) Used, or during the period of time it is                     recreational or leisure activity
           available for hire, as a public or livery                    allowed by the fadlity;
           conveyance whether or not there is:
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                                Horsepower means the maximum power                                                               (2) Mutual    Atomic                              Energy     Liability
                                rating assigned to the engine or motor by the                                                        Undenvriters;
                                manufacturer.
                                                                                                                                 (3) Nuclear Insurance Association                                   of
                          This exciusion does not apply to "bodily injury' to                                                        Canada;
                          a "residence employee" arising out of and in the                                                       or any of their successors; or
                          course    of    the   "residence     employee's"
                          empioyment by an "insured".                                                                    b. Would be an insured under that policy but for
                                                                                                                            the exhaustion of its limit of liability;
                      B. Liability Coverage E - Personal Liability.
                                                                                                                 6. "Bodily injury" to you or an'insured" as defined in
                      Liabiiity Coverage E does not apply to the following:                                         Definition 9.a. or b.
                      1. Liability:
                                                                                                                         This exclusion also applies to any claim made or
                          a. For any foss assessment charged against                                                     suit brought against you or an "insured" to:
                             you as a member of an association,
                             corporation or community of property owners,                                                a. Repay; or
                             except as provided in Liability - Additional                                                b. Share damages with;
                             Coverage 4. Loss Assessment;                                                                another person who may be obligated to pay
                          b. Under any contract or agreement entered                                                     damages because of "bodily injury' to an
                             into by an "insured". This exclusion does not                                               "insured"; or
                             apply to written contracts:
                                                                                                                7. "Bodily injury" to an "employee", "residence
                               (1) That directly relate to the ownership,
                                                                                                                   employee" or a temporary employee furnished to
                                   maintenance or use of an 'lnsured
                                                                                                                   the "insured" to substitute for a permanent
                                   location'; or
                                                                                                                   "residence employee" arising out of or in the
                               (2) In which the liability of others is assumed                                     course of the employee's emptoyment by any
                                    by the "1insured" prior to an "occurrence';                                    Additional Insured named in the Deciarations.
                               unless excluded in 1.a. or elsewhere in this
                               poiicy;                                                                          C. Llability Coverage F - Medical Payments to
                                                                                                           --Others.                                    --
                      2. "Property damage" to property• owned by an                                             Liability Coverage F does not apply to "bodily injury":
                         "insured". This includes costs or expenses
                         incurred by an "insured" or others to repair,                                          1. To a "residence employee" if the "bodily injury":
                         replace, enhance, restore or maintain such                                                     a. Occurs off an "insured location"; and
                         property to prevent injury to a person or damage                                               b. Does not arise out of or in the course of the
                         to property of others, whether on or away from an                                                 "residence employee's" empioyment by an
                         "insured location";                                                                               "insured";
,                     3. "Property damage" to property rented to,                                               2. To any person eligible to receive benefits
                         occupied or used by or in the care of an "insured".                                       votuntariiy provided or required to be provided
                         This exclusion does not apply to "property                                                under any:
                         damage" caused by fire, smoke, water or
                         explosion;                                                                                     a. Workers' compensation law;
                                                                                                                        b. Non-occupational disability law; or
                      4. "Bodily injury" to any person eligible to receive
                         any benefits voluntarily provided or required to be                                            c. Occupational disease iaw:
                         provided by an "insured" under any:
                                                                                                               3. From any:
                         a. Workers' compensation law;
                                                                                                                        a. Nuclear reaction;
                          b. Non-occupational disability law; or
                                                                                                                        b. Nuclear radiation; or
                         c. Occupational disease iaw;
                                                                                                                       c. Radioactive contamination;
                      S. "Bodily injury' or "property damage" for which an                                             all whether controlled or uncontrolled or however
                         "insured" under this policy:                                                                  caused; or
                         a. Is also an insured under a nudear energy                                                   d. Any consequence of any of these; or
                            iiabiiity policy issued by the:
                               (1) Nuclear                                                                     4. To any person. other than a "residence
                                              Energy        Liability               Insurance
                                  Association;                                                                    employee" of an "insured", residing on any part of
                                                                                                                  an "insured location".

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    insurance written specifically to cover as excess                       a. Intentionally concealed or misrepresented
    over the Iimits of liability that apply in this policy.                     any material fact or circumstance;
 9. Policy Period. This policy applies only to "bodily                      b. Engaged in fraudulent conduct; or
    injury' or "property damage" which occurs during                        c. Made false statements;
    the policy period.
                                                                            relating to this insurance.
10. Concealment or Fraud. We. do not provide
    coverage to an "insured" who, whether before or
   after a loss, has:




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                                                                                                     HQ-S99 CW (05-17)

                                               SIGNATURE PAGE




This policy is signed for the member company of Travelers which is the insurer under this policy.




                                                                                      Michael Klein
         Wendy C. Skjerven                                                            President
         Corporate Secretary                                                          Personai Insurance




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                                       PERSONAL INJURY COVERAGE
                       This Endorsement Changes The Policy. Please Read It Carefully.
DEFINITIONS                                               LIABILITY — ADDITIONAL COVERAGES
For purposes of this Personal Injury Coverage onty,       For purposes of this Personal Injury Coverage only,
the following definition is added:                        the following replaces 4. Loss Assessment in form
    "Personal injury" means injury arising out of one     HQ-L77 and 3. Loss Assessment in form HQ-L88:
    or more of the foRowing offenses, but only if the         Loss Assessment We will pay up to the limit
    offense was committed during the policy period:           shown in the Declarations for Loss Assessment
    a. False arrest, detention or imprisonment;               Coverage for your share of any loss assessment
                                                              charged against you, as an owner or tenant of the
    b. Malicious prosecution;                                 "residence premises", during the policy period by
    c. The wrongful eviction from, wrongful entry             a corporation or association of property owners,
         into, or invasion of the right of private            when the assessment is made as a result of
         occupancy of a room, dwelling or premises            covered "personal injury'.
         that a person occupies, cdmmitted by or on
         behalf of its owner, landlord or lessor;            Regardless of the number af assessments, the
                                                             limit shown in the Declarations for Loss
    d. Oral, written, electronic, digital or other
                                                             Assessment Coverage is the most we will pay for
         means of communication or publication of            loss arising out of "personal injury".
         material that:
        (1) Slanders or       libels   a   person    or      We do not cover assessments charged against
            organization;                                    you or a corporation or association of property
                                                             owners by any governmental body.
          (2) Disparages a person's or organization's
               goods, products or services; or
          (3) Violates a person's right of privacy.
                                                   __     For purposes of this Personat_Injur_y_Coverage-only,—
L-IABIL-I'Tlf-COVERAGE SECTION--                          the following replaces Liabitity — Exclusions A., B. and
LIABILITY COVERAGE E - PERSONAL LIABILITY                 C..
(In form HQ-L77)                                          Personal Injury Coverage does not apply to:
LIABILITY COVERAGE E — PREMISES LIABILITY                 1. "Personal injury':
(tn form HQ-L88)                                              a. Caused by or at the direction of an "insured"
                                                                   with the knowledge that the act would violate
The following is added under Liability Coverage E:
                                                                   the rights of another and would inflict
Personal Injury Coverage.                                          "personat injury";
If a claim is made or suit is brought against an             b. Arising out of oral, written, electronic, digital
"insured" for damages resufting from an offense,                or other means of communication or
defined under "personal injury', to which this                  publication of material:
coverage applies. we will:                         "
                                                                 (1) If done by or at the direction of an
1. Pay up to our limit of liability for the damages for              "insured" with knowledge of its falsity: or
   which an "insured" is legally liable. Damages
                                                                (2) Whose first publication took place before
   include prejudgment interest awarded against an
   "insured": and                                                    the beginning of the policy period;
                                                             c. Arising out of a criminal act committed by or
2. Provide a defense at our expense by counsel of               at the direction of an "insured";
   our choice, even if the suit is groundless, false or      d. Arising out of the use or operation of any
   fraudulent. We may investigate and settle any                "aircraft";
   claim or suit that we decide is appropriate. Our
   duty to settle or defend ends when our limit of           e. Arising out of liability assumed by an
   liability for the offense is exhausted by payment            "insured" under any contract or agreement
   of a judgment or settlement.                                 except any indemnity obligation assumed by
                                                                an "insured" under a written contract directly
                                                                relating to the ownership, maintenance or
                                                                use of the premises;


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               c. Promptly forward to us every notice, demand,                                                                          (4) To secure and give evidence and obtain
                  summons or other process relating to the                                                                                  the attendance of witnesses;
                  offense;
                                                                                                                                 e. No "insured" will, except at such "insured's"
               d. At our request, help us:                                                                                              own cost, voluntarily make payment, assume
                       (1) To make settlement;                                                                                          obligation or incur expense other than for first
                                                                                                                                        aid to others at the time of the "personal
                       (2) To enforce any right of contribution or                                                                      injury'.
                           indemnity against any person or
                           organization who may be liable to an                                                          For purposes of this Personal Injury Coverage onty,
                           "insured";                                                                                    9. Policy Period does not appEy.
                       (3) With the conduct of suits and attend
                           hearings and trials; and                                                                      All other provisions of this policy apply.




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                                                                                                               HQ-090 CA (05-17)

                                                         WORKERS' COMPENSATION
                                                          RESIDENCE EMPLOYEES

                                         This Endorsement Changes The Policy. Please Read It Carefully.
                   We agree, with respect to "residence employees":             6. Assignment.
                   UNDER COVERAGE 1                                             7. Subrogation.
                   To pay when due all benef•rts required of an "insured"    B. Under Liability Cond'itions:
                   by the California Workers' Compensation Law; and             3. Duties After "Occurrence".
                                                                                6. Suit Against Us,
                   UNDER COVERAGE II
                                                                             C. Our agreement to defend the "insured" as
                  To pay on behalf of an "insured" all damages for              provided under Liability Coverage E — Personal
                  which the "insured" is legally liable because of "bodily      Liability.
                  injury" sustained by a "residence employee". The           D. Under Liability — Additional Coverages:
                  "bodily injury" must be caused by accident or disease
                  and arise out of and in the course of employment by           1. Claim Expenses.
                  the "insured" while:                                          2. First Aid Expenses.
                  A. In the United States of America, its territories or     E. The definition of "bodily injury." "business,"
                       possessions, or Canada; or                               "insured" and "residence employee."
                  B. Temporarily elsewhere if the "residence
                                                                             ADDITIONAL      PROVISIONS        APPLICABLE       TO
                       employee" is a citizen or resident of the United
                                                                             COVERAGE I
                       States or Canada.
                                                                        The following provisions are app[icable to Coverage
            Section 11 does not apply to any suit brought in or
            judgment rendered by any court outside the United           1'
            States of America, its territories and possessions, or      A. We shaR be directly and primarily liable to any
            Canada, or to any action on such judgment.                     "residence employee" of an "insured" entitled to
—   __--__—_—__--___---_------                                --------the      ---benefits—of—theCaliforniaWorkers'—
            WHO IS COVERED                                                 Compensation Law.
                                                                        B. As between the "residence employee" and us,
            A "residence employee" is covered if during the 90
                                                                           notice to or knowledge of the "occurrence" of the
            calendar days immediately before the date of injury            injury on the part of an "insured" will be deemed
            the employee has:
                                                                           notice or knowledge on our part.
            A. Actually been engaged in such employment by
                                                                        C. The jurisdiction of an "insured" will, for the
                the "insured" for no less than 52 hours; and               purpose of the law imposing liability for
            B. Earned no less than one hundred dollars ($100)              compensation, be our jurisdiction.
                in wages.
                                                                        D. We will be subject to the orders, findings,
            APPLICATION OF COVERAGE                                        decisions or awards rendered against an
                                                                           "insured", under the provisions of the law
            This insurance applies only to "bodily injury" which           imposing liability for compensation, subject to the
            occurs during the policy period. If the "bodily injury" is     provisions, conditions and limitations of this
            a disease, it must be caused or aggravated by the              policy. This policy shall govern as between an
            conditions of the covered "residence employee's"               "insured"  and us as to payments by either in
            employment by the "insured."                                   discharge or an "insured's" liability for
                                                                           compensation.
                  POLICY PROVISIONS                                          E. The "residence employee" has a first lien upon
                                                                                any amount which we owe you on account of this
                  This insurance is subject to all the provisions of this       insurance. In case of your legal incapacity or
                  endorsement and the following provisions of this              inability to receive the money and pay it to the
                  policy:                                                       "residence employee", we will pay it directly to the
                  A. Under Policy Conditions:                                   "residence employee". Your obligation to the
                                                                                "residence employee" will tie discharged to the
                      2. Waiver or Change of Policy Provisions.
                                                                                extent of such payment.
                      4. Cancellation.
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                                                                                                             HQ-208 CW (08-20)

          WATER BACK UP AND SUMP DISCHARGE OR OVERFLOW COVERAGE
                      This Endorsement Changes The Policy. Please Read It Carefully.
PROPERTY COVERAGE SECTION                                                      located within the dwelling or other building
PROPERTY — PERILS INSURED AGAINST                                              structures on the "residence premises" even
                                                                               if such discharge or overflow results from
For purposes of the Water 8ack Up and Sump                                     mechanical breakdown.
Discharge or Overflow Additional Coverage only,
Perils insured Against provision:                                         This additional coverage does not apply to:
1. Property Coverage A — Dwelling and Property                            a. Direct physical loss of the sump, sump pump,
    Coverage B — Other Structures, paragraph                                  related equipment or any other system
                                                                              designed to remove subsurface water which
    2.c.(6)(b) in form HQ-P03;
                                                                              is caused by mechanical breakdown; or
2. Property Coverage A - Dwelling, paragraph                              b. Loss caused as a direct or indirect result of
   2.c.(6)(b) in form HQ-P06;                                                 flood, surface water, storm surge, waves,
                                                                              wave wash, tidal water, tsunami, seiche,
3. Property Coverages A, B(if applicable) and C,                              overflow of a body of water or spray from any
   paragraph 1.c.(6)(b) in Special Personal Property                          of these, whether a result of precipitation or
   Coverage form HQ-015; and                                                  driven by wind.
4. Property Coverages A and 8 (if applicable),                            This coverage does not increase the limits of
   paragraph 2.c.(6)(b) in Special Coverage form                          liability for any property covered under the
   HQ-003:                                                                Property Coverage Section of this policy.
   is replaced by the following:
       Latent defect, inherent vice or any quality in                PROPERTY - EXCLUSIONS
       property that causes it to damage or destroy                  For purposes of this Water Back Up and Sump
       itself;
                                                                     Discharge or Overflow Additional Coverage only, the
PROPERTY— ADDITOONAL-COVERAGES-                                _     following-is added_under_3.Water,_paragraph-b.-(this---
                                                                     is Property — Exclusion A.3. in forms HQ-P03 and
The following additional coverage is added under                     HQ-P06):
Property - Additional Coverages:                                     3. Water, meaning any:
   Water Back Up and Sump pischarge or                                    b. This paragraph b. does not apply to the
   Overflow Coverage. We will pay up to the limit                            extent that coverage is provided under the
   of liability shown in the Declarations under this                         Water Back Up and Sump Discharge or
   Water Back Up and Sump Discharge or Overflow                              Overflow Additional Coverage.
   Coverage, for direct physical loss, not caused by
   the negligence of an "insured", to property                      For purposes of this Water 8ack Up and Sump
   covered under the Property Coverage Section of                   Discharge or Overflow Additional Coverage only, the
   this policy, caused by water or water borne                      following is added under 4. Power Failure (this is
   material, that:                                                  Property — Exclusion A.4. in forms HQ-P03 and HQ-
   a. Enters through or backs up from a sewer or                    P06):
      drain located within the dwelling or other                    4. Power Failure.
      building structures on the "residence
      premises"; or                                                      This exclusion does not apply to the extent that
                                                                         coverage is provided under the Water Back Up
   b. Discharges or overflows from a:                                    and Sump Discharge or Overflow Additional
       (1) Sump or sump pump;                                            Coverage.
       (2) Related equipment; or                                    AII other provisions of this policy apply.
       (3) Any other system designed to remove
           subsurface water which is drained from
           the foundation area;




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                                                                                                 HQ-290 CA (04-20)

             PERSONAL PROPERTY REPLACEMENT COST LOSS SETTLEMENi'
                      This Endorsement Changes The Policy. Please Read It Carefully.

PROPERTY COVERAGE SECTION                                      a. Antiques and similar articles of rarity or
PROPERTY - CONDITIONS                                             antiquity which cannot be replaced;
For purposes of this Personal Property Replacement             b. Fine arts, including paintings, etchings,
Cost Loss Setttement only, the foilowing replaces 3.              drawings,         lithographs,        photographs,
Loss Settlement paragraph a.:                                     sculptures and other bona fide works of art of
                                                                  rarity, historical value or artistic merit;
3. Loss Settlement.
                                                               c. Memorabilia, souvenirs and similar articles
    Eligible Property. Covered losses to the                      whose age or history contribute to their value;
    foltowing property are settled at replacement cost
    at the time of the loss:                                   d. Collectibles, including figurines, glassware.
                                                                  marble, porcelains, statuary and similar
    a. Property described in Property Coverage C —                articles;
         Personal Property;
                                                               e. Articles not maintained in good or workable
    b. Awnings, carpeting, household appliances,                  condition; and
         outdoor antennas and outdoor equipment,
         whether or not attached to buildings, if              f. Articles that are outdated or obsolete and are
         covered in this policy; and                              stored or not being used.
    c. Property of the following types:                        Replacement        Cost      Loss     Settlement
                                                               Condition. The following loss settlement
         (1) Jewelry;                                          condition applies to all property described under
         (2) Furs and garments:                                Eligible Property:
           (a) Trimmed with fur: or                            a. We will pay no more than the least of the
           (b) Consisting principally of fur;                      following amounts:
       (3) Silverware, silver-plated ware, goldware,               (1) Replacement cost at the time of loss;
           gold-plated      ware,      platinurnware,          _(2) Thefull _cost-of_repair_at-the-time-of-loss=
         platinum-plated ware and pewterware.                      (3) The limit of liability that applies to
           This does not include:                                      Property Coverage C — Personal
           (a) Pens or pencils;                                        Property, if applicable;
           (b) Flasks;                                             (4) Any applicable Special Limits of Liability
           (c) Smoking implements or accessories;                      stated in this policy; or
               or                                                 (5) For loss to any Item described under
           (d) Jewelry:                                               Eligible Property c.(1) through c.(6), the
                                                                      limit of liability that applies to the item.
       (4) Cameras, projection machines             and
           related articles of equipment:                      b. If the replacement cost for the property
                                                                  described under Eligible Property is more
       (5) Musical    instruments       and     related           than $2,500, we will pay no more than the
           equipment; and                                         actual cash value for the ioss until the actual
        (6) Golfer's equipment, including golf clubs,             repair or replacement is complete.
             golf clothing and related equipment;              c. We must be notified within:
        if separately described and specifically                  (1) 36 months after our payment for actual
        insured in this policy and not subject to                     cash value if the loss or damage relates
        agreed value Ioss settlement.                                 to a state of emergency as defined in
        Personal Property Replacement Cost Loss                       Section 8558 of the Government Code of
        Settlement will not apply to other classes of                 the State of California: or
        property       separately     described      and          (2) 12 months after our payment for actual
        specifically insured.                                         cash value in all other cases;
   Ineligible Property. Property listed below is not              that you intend to repair or replace the
   eligible for replacement cost loss settlement. Any             damaged property.
   loss will be settled at actual cash value at the time
   of loss but not more than the amount required to        All other provisions of this policy apply.
   repair or replace:
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                                                                                                               HQ-300 CA (07-21)

                                   SPECIAL PROVISIONS - CALIFORNIA
                       This Endorsement Changes The Policy. Please Read It Carefully.

NOTICE                                                                         (1) When you have not paid the premium, we
                                                                                   may cancei at any time by ietting you
Throughout this policy, the term spouse includes an                                know at least 10 days before the date
individual registered under Califomia iaw as a                                     cancellation takes effect;
domestic partner with the named "insured" shown in
                                                                               (2) When this policy has been in effect for
the Declarations.
                                                                                   less than 60 days and is not a renewal
DEFINITIONS                                                                        with us, we may cancel for any reason,
                                                                                   except as provided below, by letting you
The following is added under any provision which                                   know at least 20 days before the date
uses the term actual cash value:                                                   canceilation takes effect.
    Actual cash value for a total or partial loss to a                             We may not cancel this policy solely
    building or structure covered under Property                                   because:
    Coverages A or S(if applicable), or a total or                                   (a) You accepted an offer of earthquake
    partial loss to contents covered under Property                                      coverage;
    Coverage C, is calculated as the lesser of the
                                                                                     (b) Corrosive soil conditions exist on the
    policy limit or the amount it wouid cost to repair or
                                                                                         "residence       premises".       This
    reptace covered property, at the time of loss, with
    material of like kind and quality, subject to a                                      paragraph 4.b.(2)(b) applies only if
    deduction for physical depreciation.                                                 this policy includes one or more of
                                                                                         the foiiowing, which exclude loss
    The actual cash value of the lost or damaged                                         caused by corrosive soil conditions:
    property may be significantly less than its                                           (i) Homeowners Special Policy;
    replacement cost.
                                                                                          (ii) Special    Personal   Property
POLICY CONDITIONS                                                                              Coverage form HQ-015:
                                                                                       (iii) Condominium          Unit   Owners
4. Cancellation is replaced by the foliowing:                                                Policy; or
4. Cancellation. This policy may be cancelled                                             (iv) Special Coverage form HQ-003;
   during the policy period as follows:                                                        or
    a. A named "insured" shown in the Declarations                                  (c) You cancelled or did not renew an
       may cancel this policy by:                                                       earthquake policy issued by the
        (1) Retuming this policy to us; or                                              California   Earthquake   Authority
                                                                                        (CEA) that induded an earthquake
        (2) Giving us advance notice of the date                                        policy premium surcharge.
            cancellation is to take effect.
        We may accept another form of notice from a                                       However, we . may cancel this policy
        named "insured". The cancellation by a                                            if you have accepted a new or
        named "insured" will be binding on any other                                      renewal poiicy issued by the CEA
        named "insured".                                                                  that induded an earthquake policy
                                                                                          premium surcharge, but you failed to
   b. We may cancel this policy only for the                                              pay the earthquake policy premium
      reasons stated below by letting you know in                                         surcharge authorized by the CEA.
      writing of the date canceilation takes effect.
      This cancellation notice may be delivered to                                  However, in the event of a total loss to
      you, electronically transmitted to you, if                                    the "residence premises", we will not
      permissible by law, or mailed to you at your                                  cancel while any structure at that location
      mailing address shown in the Declarations.                                    is being rebuilt except for the reasons
      Proof of mailing or electronic transmission                                   stated in paragraphs b.(1) and b.(3) of
      will be sufficient proof of notice. We will also                              this Policy Condition 4. Canceliation.
      deliver or mail a copy of the notice to any                              (3) When this policy has been in effect for 60
      Additional      Insured     named     in     the                             days or more, or at any time if it is a
      Declarations.                                                                renewat with us, we may cancel if there
                                                                                   has been:


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           renew this policy after you have accepted                            (4) Solely on the .grounds that a claim is
           an offer of earthquake coverage if one or                                pending under the policy unless such
           more of the following reasons apply:                                     claim is made under coverage for loss
           (a) The nonrenewal is based on sound                                     caused by an earthquake;
               underwriting principles that relate to                           (5) Sotety on the basis of an "insured's" age;
               the coverages provided by this policy                                or
               and that are consistent with the
               approved rating plan and related                                 (6) Solely because the insured structure is
               documents filed with the Department                                  located in an area in which a wildfire has
               of Insurance as required by existing                                 occurred. This paragraph S.b.(6) applies:
               law;                                                                  (a) If the insured structure is located in a
           (b) The Commissioner of Insurance                                             zip code determined to be within or
               finds that the exposure to potential                                      adjacent to the fire perimeter;
               losses will threaten our solvency or                                  (b) Only for one year after a state of
               place us in a hazardous condition. A                                      emergency declaration, as defined in
               hazardous condition indudes, but is                                       Section 8558 of the Government
               not limited to, a condition in which we                                   Code of the State of California; and
               rnake claims payments for losses
                                                                                     (c) If this policy is in effect at the time of
               resulting from an earthquake that
                                                                                         the state of emergency declaration.
               occurred within the preceding two
               years and that required a reduction in
                                                                                     However, paragraph 5.b.(6) does not
               policyholder surplus of at least 25%
                                                                                     apply in any of the following
               for payment of those claims; or
                                                                                     circumstances:
                 We     e.•
           (c)       hav                                                             (a) If willful or grossly negligent acts or
                 (i) Lost or experienced a substantial                                   omissions by the named insured, or
                     reduction in the availability or                                    his or her representative, are
                     scope of reinsurance coverage;                                      discovered that materially increase
                     or                                                                  any of the risks insured against;
         --(id)-Experienced---a----substantial-- —                                   (b)- if—(ossesunrelated—to the post —
                   increase in the premium charged                                        disaster loss condition of the
                   for reinsurance coverage of our                                        property have occurred that would
                   residential property insurance                                         collectively render the risk ineligible
                   policies; and                                                          for renewal;
               the Commissioner has approved a                                      (c) If there are physical or risk changes
               plan for the nonrenewals that is fair                                    to the insured property beyond the
               and equitable, and that is responsive                                    catastrophe-damaged condition of
               to the changes in our reinsurance                                        the structures and surface landscape
               position.                                                                that result in the property being
       (2) Solely because you cancelled or did not                                      uninsurable.
           renew an earthquake policy, issued by                          c. Uniess paragraph b.(1) or b.(3) under 4.
           the California Earthquake Authority, that                         Cancellation apply, in the event of a total
           included an earthquake poticy premium                             loss to the "residence premises", we shall
           surcharge;                                                        offer to renew this policy for at least the next
       (3) Solely because corrosive soil conditions                          two annual renewal periods, but no less than
           exist on the "residence premises". This                           24 months of coverage from the date of loss,
           paragraph S.b.(3) applies only if this                            if:
           policy includes one or . more of the                                (1) The total loss of the primary insured
           following, which exclude loss caused by                                 structure was caused by a disaster as
           corrosive soil conditions:                                              defined in subdivision (b) of Section
          (a) Homeowners Special Policy;                                           1689.14 af the Civil Code;
          (b) Special Personal Property Coverage                               (2) The ioss was not due to the "insured's"
              form HQ-015;                                                         negligence; and

          (c) Condominium Unit Owners Policy; or                               (3) Losses have not occurred subsequent to
                                                                                   the disaster-related total loss that relate
          (d) Speciaf Coverage form HQ-003;                                        to physicat or risk changes to the insured


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                                                                                                              HQ-300 CA (07-21)

    b. "Fungi", other microbes or rot that results                                  If:
       from fire or lightning.                                                      (a) A covered loss to your dwelling and
                                                                                        other structures relates to a state of
PROPERTY - CONDITIONS                                                                   emergency as defined in Section
When this Special Provisions — California is used with                                  8558 of the Government Code of the
forms HQ-P02, HQ-P03 or HQ-P53, the last                                                State of California: and
paragraph of 3.b.(1) under 3. Loss 5ettlement is                                    (b) The coverage available to rebuild or
replaced by the following:                                                              replace your dwelling is insufficient;
3. Loss Settlement.                                                                 you may combine claim payments for the
                                                                                    covered loss to your other structures with
            If the building is rebuilt at a new premises                            claim payments for the covered loss to
            or replaced with the purchase of an                                     your damaged dwelling, and, subject to
            already built home at a new premises.                                   the applicable limits, you may apply the
            the cost described in 3.b.(1)(b) is limited                             combined payments to any covered
            to the cost which would have been                                       expenses you have incurred that are
            incurred if the building had been built at                              reasonably necessary to rebuild or
            the original premises.                                                  replace the damaged dwelling.
When this Special Provisions — California is used with                            Any claim payments for loss to your other
forms HQ-P02, HQ-P03 or HQ-P53, paragraph                                         structures applied to loss to your
3.b.(5) under 3. Loss Settlement is replaced by the                               damaged dwelling pursuant to this
following:                                                                        provision for which replacement cost
        (5) We must be notified within:                                           coverage is applicable shall be for the full
                                                                                  replacement cost of the loss without
            (a) 36 months after our payment for                                   requiring actual replacement of the other
                actual cash value if the loss or                                  structures. Any claim payments for other
                damage relates to a state of                                      structures in excess of the amount
                emergency as defined in Section                                   applied to the necessary cost incurred to
                8558 of the Govemment Code of the                                 rebuild or replace the damaged dwelling
             _ State of Califomia;                                             ---will-be-paid- in accordance -with- all- other - -
            (b) 12 months after our payment for                                   terms of the policy and will be the lower
                actual cash value in all other cases;                             of:
            that you intend to repair or replace the                              (a) The amount of loss; or
            damaged property.                                                     (b) The limit of liability applicable to the
                                                                                       other structures;
            We shall provide to you one or more
            additional extensions of 6 months for                                 reduced by the amount of the other
            good cause if, while acting in good faith                             structures daim payrnent that was
            and with reasonable diligence, you                                    applied to the cost to rebuild or replace
            encounter a delay or delays in approval                               the damaged dwelling.
            for, or reconstruction of, the residence
            that    are      beyond   your   control.               When this Special Provisions - California is used with
            Circumstances beyond your control may                   forms HQ-P02, HQ-P03 or HQ-P53, 3. Loss
            include the foilowing:                                  Settlement paragraphs c.(2) and c.(3) are deleted.
            (a) Unavoidable       construction        permit        6. Loss Payment is replaced by the following:
                delays:
                                                                    6. Loss Payment We will adjust all losses with you.
            (b) Lack of necessary construction                         We will pay you unless some other person is
                materials; or                                          named in the policy or is legally entitled to receive
            (c) Lack of available contractors to                       payment. Loss will be payable 30 days after we
                perform the necessary work.                            receive your proof of loss and:
                                                                       a. Reach an agreement with you;
When this Special Provisions — California is used with
forms HQ-P02, HQ-P03 or HQ-P53, the following is                       b. There is an entry of a final judgment; or
added under 3. Loss Settlement paragraph b.:                             c. There is a filing of an appraisal award with us.

                                                                    7. Appraisal is replaced by the following:



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                                                                                               HQ-42o CA (11-18)

                    ADDITIONAL REPLACEMENT COST PROTECTION COVERAGE
                     This Endorsement Changes The Policy. Please Read It Carefully.
                   (Applies only when loss to the dwelling exceeds the Property Coverage A
                                  Limit of Liability shown in the Deciarations)
  PROPERTY COVERAGE SECTION                                             deduction for depreciation, subject to the
                                                                        following:
  PROPERTY - CONDITIONS
                                                                        (1) We will pay the replacement cost
  If Modified Functional Replacement Cost Loss                               without deduction for depreciation,
  Settlement form HQ-826 is part of this policy, the                         but not more than the least of the
  defined term "functional replacement cost" replaces                       following amounts:
  any reference to replacement cost in this Additional
                                                                            (a) The limit of liability under this
  Replacement Cost Protection Coverage.                                         policy that applies to the dwetling
                                                                                covered       under       Property
  To the extent that coverage is provided, we agree to
  provide an additional amount of insurance under                               Coverage A, plus any addi6onal
                                                                                amount of insurance provided
  Property Coverage A only in accordance with the
  following provisions:                                                         under 8.1. of the Additional
                                                                                Replacement Cost Protection
  A. If you have:                                                               Coverage form Q.42p.
     1. Allowed us to adjust the Property Coverage                          (b) The replacement cost of that part
         A limit of liability and the premium in                                of the dwelling damaged with
         accordance with:                                                       materials of like kind and quatity
         a. The property evaluations we make; and                         and for like use (or, if Modified
                                                                          Functional Replacement Cost
         b. Any increases in inflation; and
                                                                          Loss Settlement form HQ-826 is
                                                                          part of this poticy, functionally
     2. Notified us, within 30 days of completion, of
                                                                          equivalent     materials     and
        any improvements, alterations or additions to
__ --the— dwellin g insured--under— Prope~ _____                     ____ methods_ asde fined---in--that-
                                                                          endorsement); or
        Coverage A which increase the replacement
         cost of the dwelling by 5% or more;                                (c) The necessary amount actually
     the provisions of this Additional Replacement                              spent to repair or replace the
     Cost Protection Coverage will apply after a loss,                          damaged dwelling.
     provided you repair or replace the damaged
                                                                 •          if the dwelling is rebuilt at a new
     dwelling.
                                                                            premises or replaced with the
                                                                            purchase of an already built home at
  B. If there is a loss to the dwelling insured under
                                                                            a new premises, the cost described
     Property Coverage A that exceeds the Property
     Coverage A limit of liability shown in the                             in b.(1)(b) is limited to the cost which
     Declarations, for purposes of settling only that                       would have been incurred if the
     loss to the dwelling:                                                  dwelling had been built at the original
                                                                            premises.
     1. We will provide an additional amount of
                                                                        (2) We will pay no more than the actual
        insurance up to the percentage of Property
        Coverage A shown in the Declarations; and                           cash value of the damage until actual
                                                                            repair or replacement is complete.
     2. The following replaces 3. Loss Settlement,                      (3) We must be notified within:
        paragraph b. However, if Roof Systems                              (a) 36 months after our payment for
        Payment Schedule Windstorm or Hail Losses                              actual cash value if the loss or
        form HQ-646 is part of this policy, this change                        damage relates to a state of
        does not apply to loss or damage by the peril                          emergency as defined in Section
        of windstorm or hail to which the Roof                                 8558 of the Government Code of
        Systems Payment Schedule Windstorm or                                  the State of California; or
        Hail Losses form HQ-646 applies:
                                                                           (b) 12 months         ra
         b. The dwelling covered under Property                                actual cash v alue in all other
            Coverage A at replacement cost without                             cases;
p



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                                                                                                                      HQ-710 CA (05-17)

                                           WILDFIRE DEFENSE SERVICES
                         This Endorsement Changes The Policy. Please Read it Carefully.
    IMPORTANT NOTICE:                                                             These services are supplemental to all other
    THIS ENDORSEMENT DOES NOT APPLY AND 15                                       public first responders and are not first
    DELETED FROM THE POLICY IF YOUR POLICY                                       responder services.
    CONTAINS DIFFERENCE IN CONDITIONS FORM                                   c. As determined by the wildfire defense service
    HQ-514.                                                                      provider,     wildfire    damage     mitigation,
                                                                                 inctuding structural protective services, may
    PROPERTY COVERAGE SECTION                                                    include services such as:
    PROPERTY — CONDITIONS                                                        (1) Brush removal;
    For purposes of this Wildfire Defense Services form                          (2) Fuel source mitigation;
    only, the following is added under Property —                                (3) Application of vent tape;
    Conditions:                                                                  (4) Application of fire blocking gel and fire
        Wildfire Defense Services. This endorsement                                   retardant; or
        provides authorization for a wildfire defense                            (5) Closing of structure openings.
        service provider, contracted by us, to perform
        wildfire damage mitigation, including structural                     d. We have the right to modify or discontinue
        protective services, at the "residence premises"                         wildfire defense services provided under this
        as set forth below.                                                      endorsement without notice to you.
        a. We will pay for a wiidfire defense service                        e. #f damage to covered structures on your
            provider to provide wildfire damage                                  "residence premises" results from wildfire
            mitigation, including structural protective                          damage mitigation, including structural
            services, at the "residence premises" against                        protective services, we will pay the cost to
            the threat of wildfire if determined by the                          repair your damaged structure. Any payment
            wildfire defense service provider to be an                           made for such damage will not increase the
            imminent threat of loss.                                             limit of liability that applies to the covered
                                                                               --structure.     ---   -   -       -   --        -   -

     —b.—There are no guarantees that witdfire
            damage mitigation, induding structural                      AII other provisions of this policy apply.
            protective services:
            (1) Will be provided; or
            (2) Will prevent damage if services are
                 provided.




    HQ-710 CA (05-17)                                                                                                      Page 1 of 1
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                           lndudes copyrighted material of Insurance Services Office, lnc. with its permission,
                                                                                        TRAVELERS D0C MGMT Page 63 of 64
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                                                                      _•_  V
                     Case 2:24-cv-03432-DC-AC Document 1-1 Filed 12/10/24 Page ILEV
                                                                               45 of 64
          SUPERIOR COURT OF CALIFORNIA, COUNTY OF EL DORADO.                                       IJCT
                                                                                              EL D0RÁ9SUIRIPC0URT
          1354 Johnson Blvd                                                                   By
          South Lake Tahoe, CA 96150                                                               J t°
          TITLE OF CASE: Jack Young vs. The Standard lnsurance                          CASE NU     ER
          Company, a Connecticut Company et al                                          24CV2389


                     NOTiCE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE

          Uctober 24, 2Q24

          NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE
          (Loca.l Rule 7.12.05 and 7:12.06)

          NOTICE IS HEREBY GIVEN that a CASE MANAGEMENT CONFERENCE irf the above                            •



          entitled case is set for 1:30 PM 03/26/2025 and 1354 Johnson Blvd, South Lake Tahoe, CA 96150.

          A Case Management Statement must be filed and served not less than.15 days before the
          Conference.

          !f a party is demanding a jury trial, pursuant to Civil Code of Procedure section 63'I (b), a non-
          refundable jury fee of $150.00 must be deposited with the court on or before.the initial Case
          Management Conference date in this action. Failure to timeiy deposit the funds will result in a waiver
   - of--a--
~---
           jury trial.
             - - - - -----        - - — -- -----        ----- - - ------- _ — ---- --

          At the CASE MANAGEMENT CONFERENCE, you will be assign.ed a Dispute Resofution Conference
          Date, a Mandatory Settlement Conference Date, and a Trial Date. In lieu of a Dispute Resolution
          Conference, the parties may elect mediation, binding arbitration, or judicial arbitration.

          in addition, the court will make pre-trial orders.

          The Court will require full compliance of El Dorado County Local Rules, in particular, the rules
          governing Trial Court Case Management (rule 7.12.00, etc.). For additional inforrnation regarding the
          Trial Court Case Management Program visit our website at: wwvv:eldoradocourt:orq You must be
          prepared to discuss all matters and dates which are the subjects of•the Case Managernenfi
          Conference. Telephonic court appearances are provided through the Court. To sign up to appear by
          telephone please go to the court's website at http://www.eldoradocourt.orglorSlineservices/vcourt.html
      at least five (5) days prior to the scheduled conference.




                                           CLERK'S CERTIFICATE OF SERVICE


      Mandatory Use                  Notice of Case Assignment & Case Management Conference               Page 1 of 1
      Local Form C-52                                      (Civil)
      Effective 04/21/2021
.,                                                    .       .   ..   .           _...._....._....._..........,.   ., ..._.       .--
                                                                               '                                               '

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                                                                           '          ..        '                   .. .

     I declare under penalty of perjury that ! am over the age of 18 and not a parky to the above action;
     that a copy of NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE was
     placed for mailing through either the United State Post Offce •or Inter-Departmenta( mail on the
     parties at the address shown herein. Executed on October 25, 2024, in South Lake Tahoe, California.

     Delivered to:
     Attorney Daniel Veroff
     601 MONTGOMERY STREET SUITE 1925
     SAN FRANCISCO, CA 94111                     .



                                                          •
                                                              .



                     Shelby W= g,xecutive             Officer
                     By:
                                Dep      lerk




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 1   Kathleen M. DeLaney (SBN 196376)
     Mary Anne Viau (SBN 225289)
 2   kdelane5@travelers.com
     mviau@travelers.com
 3   USERY & ASSOCIATES
     Mailing Address: P.O. Box 2996
 4   Hartford, CT 06104-2996
     Physical Address: 401 Lennon Lane, Suite 100
 5   Walnut Creek, CA 94598
     Main (917) 778-6680
 6   Fax: (844) 571-3789

 7
     Attorneys for Defendant THE STANDARD FIRE
 8   INSURANCE COMPANY

 9
                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
10
                                          COUNTY OF EL DORADO
11
     JACK YOUNG, an individual,                              CASE NO. 24CV2389
12
                    Plaintiff,
13                                                           THE STANDARD FIRE INSURANCE
     v.                                                      COMPANY’S ANSWER TO
14                                                           PLAINTIFF’S COMPLAINT
15   THE STANDARD FIRE INSURANCE
     COMPANY, a Connecticut Company; and DOES
16   1-10,                                                   Complaint filed: October 24, 2024

17
                    Defendants.
18

19
20          Defendant The Standard Fire Insurance Company (hereinafter “SFIC”) answers the
21   unverified Complaint (“Complaint”) filed by Plaintiff Jack Young (hereafter “Plaintiff”) in the
22   above-entitled matter, as follows.
23
                                            GENERAL DENIAL
24          1.      Pursuant to California Code of Civil Procedure section 431.30(d), SFIC denies each
25   and every allegation contained in Plaintiff’s Complaint. SFIC further denies that Plaintiff is
26   entitled to any relief whatsoever from SFIC.
27
                                          AFFIRMATIVE DEFENSES
28          2.      Unless otherwise specifically provided herein, SFIC raises each of the following
                                                    -1-
                           SFIC’S ANSWER TO COMPLAINT – CASE NO. 24CV2389
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 1   affirmative defenses to each and every cause of action asserted against it and to each of the acts

 2   and/or omissions with which SFIC is charged in the Complaint.

 3          3.      SFIC hereby alleges the following affirmative defenses without assuming the

 4   burden of proof for such where the burden of the defense is not by law upon SFIC.

 5                                  FIRST AFFIRMATIVE DEFENSE

 6                                          (No Claim for Relief)

 7          4.      The Complaint, and each and every purported cause of action stated therein, fails to

 8   state facts sufficient to constitute any cause of action against SFIC.

 9                                 SECOND AFFIRMATIVE DEFENSE

10                                            (Waiver/Estoppel)

11          5.      SFIC is informed and believes, and on that basis alleges, that Plaintiff has waived

12   his rights and is estopped from asserting the claim for breach of contract by virtue of his own acts,

13   conduct, representations and omissions.

14                                  THIRD AFFIRMATIVE DEFENSE

15                                           (Comparative Fault)

16          6.      To the extent that Plaintiff failed to exercise reasonable and ordinary care, caution,

17   and/or prudence to avoid the damages alleged in the Complaint, any damage award that may be

18   awarded against SFIC should be reduced accordingly.

19                                 FOURTH AFFIRMATIVE DEFENSE
20                                           (Cause of Damages)

21          7.      The acts alleged to have been committed by SFIC were not the cause in fact,

22   proximate cause, or legal cause of any damages complained of in the Complaint.

23                                  FIFTH AFFIRMATIVE DEFENSE

24                                              (Other Causes)

25          8.      The loss, damage, and/or injury, if any, of Plaintiff were proximately caused by

26   and/or contributed to by acts or omissions of third parties over whom SFIC has no authority and/or

27   control.

28                                  SIXTH AFFIRMATIVE DEFENSE
                                                      -2-
                           SFIC’S ANSWER TO COMPLAINT – CASE NO. 24CV2389
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 1                                                 (Offset)

 2          9.      The damages claimed by Plaintiff, if any, must be offset by any amounts Plaintiff

 3   has received or will receive from other sources for the same loss or injury, including but not limited

 4   to insurance payments, settlements, or any other compensation related to the alleged damages.

 5                                SEVENTH AFFIRMATIVE DEFENSE

 6                                          (Superseding Causes)

 7          10.     Plaintiff and/or other superseding and intervening persons, entities or incidents, and

 8   not SFIC, are the cause of resulting damages, if any, alleged by Plaintiff.

 9                                EIGHTH AFFIRMATIVE DEFENSE

10                                          (Failure to Mitigate)

11          11.     To the extent that Plaintiff failed to exercise reasonable care and diligence to

12   mitigate his damages, any recovery that may be awarded to Plaintiff in this action should be

13   reduced accordingly.

14                                 NINTH AFFIRMATIVE DEFENSE

15                                           (Waiver/Estoppel)

16          12.     SFIC is informed and believes, and on that basis alleges, that Plaintiff has waived

17   his rights and is estopped from asserting the claim for breach of contract by virtue of his own acts,

18   conduct, representations and omissions.

19                                 TENTH AFFIRMATIVE DEFENSE

20                              (Conduct Not Unlawful, Unfair, or Willful)

21          13.     Any actions by SFIC that could be construed as relating to the conduct alleged in

22   the Complaint were not unlawful, unfair, or willful.

23                               ELEVENTH AFFIRMATIVE DEFENSE

24                                          (Excuse/Justification)

25          14.     The acts and omissions of SFIC, if any, were excused or justified by the

26   information and facts available to SFIC at the time such acts and omissions, if any, occurred.

27                               TWELFTH AFFIRMATIVE DEFENSE

28                                             (Unclean Hands)
                                                     -3-
                            SFIC’S ANSWER TO COMPLAINT – CASE NO. 24CV2389
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 1             15.      SFIC is informed and believes, and on that basis alleges, that Plaintiff acted with

 2   “unclean hands” in relation to the matters alleged in the Complaint and, by virtue of his acts,

 3   conduct, representations and omissions, Plaintiff has waived the right to relief.

 4                                 THIRTEENTH AFFIRMATIVE DEFENSE

 5                                              (Failure to Perform)

 6             16.      Plaintiff is foreclosed from seeking damages in connection with any alleged breach

 7   of duty arising out of the Policy to the extent that Plaintiff failed to perform its obligations under the

 8   Policy.

 9                                 FOURTEENTH AFFIRMATIVE DEFENSE

10                                          (The Policy Bars Damages)

11             17.      The Complaint and the recovery sought therein, are barred, in whole or in part, by

12   the terms, conditions, definitions, limitations and exclusions contained in Policy number 609751891

13   633 1 issued by SFIC (“Policy”).

14                                   FIFTEENTH AFFIRMATIVE DEFENSE

15                               (Policy Coverages, Limitations, and Exclusions)

16             18.      The Policy provides, in relevant part, as follows:

17
                        TRAVELERS HOMEOWNERS INSURANCE POLICY
18

19                                PERILS INSURED AGAINST
                              PROPERTY COVERAGE A – DWELLING
20                        PROPERTY COVERAGE B – OTHER STRUCTURES
21             1. We insure against direct physical loss to property described in
                  Property Coverages A and B.
22
               2. We do not insure for loss:
23
                     a. Excluded under Property - Exclusions;
24
                     b. Involving collapse or danger of collapse, except as provided in
25                      Property – Additional Coverage 9. Collapse; or
26                   c. Caused by:
27             …
28                      (2) Freezing, thawing, pressure or weight of water, ice or snow,
                                                         -4-
                               SFIC’S ANSWER TO COMPLAINT – CASE NO. 24CV2389
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 1                    whether driven by wind or not, to a:

 2                    (a) Fence, pavement or patio;

 3                    (b) Outdoor spa or hot tub, outdoor sauna or outdoor
                          swimming pool and any related equipment;
 4
                      (c) Footing, foundation, bulkhead, wall, or any other structure
 5                        or device that supports all or part of a building or other
                          structure;
 6
                      (d) Retaining wall or bulkhead that does not support all or part
 7                        of a building or other structure; or

 8                    …

 9                    This exclusion applies whether any item identified in (2)(a)
                      through (e) of this exclusion is wholly or partially above or
10                    below ground;

11         …

12                (6) Any of the following:

13                    (a) Wear and tear, marring, scratching or deterioration;

14         …

15                    (f) Settling, shrinking, bulging or expansion, including
                          resultant cracking, of bulkheads, pavements, patios,
16                        footings, foundations, walls, floors, roofs or ceilings. This
                          exclusion applies whether any item is wholly or partially
17                        above or below ground;

18         Under Perils Insured Against 2.b. and c., any ensuing loss to property
           described in Property Coverages A and B not excluded by any other
19         provision in this policy is covered.

20         …

21                     PROPERTY COVERAGE D – LOSS OF USE

22         The limit of liability for Property Coverage D is the total limit for the
           coverages in 1. Additional Living Expense, 2. Fair Rental Value and 3.
23         Civil Authority Prohibits Use.

24         1. Additional Living Expense.

25             a. If a loss covered under the Property Coverage Section makes that
                  part of the “residence premises” where you reside not fit to live in,
26                we cover any necessary increase in living expenses incurred by
                  you so that your household can maintain its normal standard of
27                living.

28                Payment will be for the lesser of:
                                                   -5-
                          SFIC’S ANSWER TO COMPLAINT – CASE NO. 24CV2389
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 1                (1) The shortest time required to:

 2                    (a) Repair or replace the damage; or

 3                    (b) Settle your household elsewhere, if you permanently
                          relocate; or
 4
                  (2) 24 months.
 5
           …
 6
                        PROPERTY – ADDITIONAL COVERAGES
 7
           Unless otherwise stated, the following coverages are additional insurance
 8         and are subject to the applicable deductible.

 9         1. Debris Removal. We will pay your reasonable expense for the
              removal of debris of covered property if a Peril Insured Against that
10            applies to the damaged property causes the loss.

11             This expense is included in the limit of liability that applies to the
               damaged property. If the amount to be paid for the actual damage to
12             the property plus the debris removal expense is more than the limit of
               liability for the damaged property, an additional percentage, as shown
13             in the Declarations for this Property – Additional Coverage, of that
               limit is available for such expense.
14
               We do not pay for the removal of trees except as provided under
15             Property – Additional Coverage 2. Tree Removal. We also do not pay
               for:
16

17             a. Extraction of “pollutants” from land or water;
                  or
18
               b. Removal, restoration or replacement of polluted land or water.
19
20         2. Tree Removal. We will pay your reasonable expense, up to the limit
              shown in the Declarations for this Property - Additional Coverage, for
21            the removal of trees fallen on the “residence premises” as a result of a
              Peril Insured Against, provided the tree(s):
22

23             a. Damage(s) a covered structure; or

24             b. Do(es) not damage a covered structure, but:

25                (1) Block(s) a driveway on the “residence premises” which
                      prevent(s) a “motor vehicle”, that is registered for use on
26                    public roads or property, from entering or leaving the
27                    “residence premises”; or

28
                                                   -6-
                         SFIC’S ANSWER TO COMPLAINT – CASE NO. 24CV2389
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 1                (2) Block(s) a ramp or other fixture designed to assist a person to
                      enter or leave the dwelling building.
 2
              The Per Loss Limit shown in the Declarations for this Property –
 3            Additional Coverage is the most we will pay in any one loss regardless
              of the number of fallen trees. No more than the Per Tree Limit shown
 4            in the Declarations for this Property - Additional Coverage will be
              paid for the removal of any one tree.
 5
           3. Reasonable Repairs.
 6
              a. We will pay the reasonable cost incurred by you for the necessary
 7               measures taken solely to protect covered property that is damaged
                 by a Peril Insured Against from further damage.
 8
              b. If the measures taken involve repair to other damaged property, we
 9               will pay only if that property is covered under this policy and the
                 damage is caused by a Peril Insured Against.
10
                  This coverage does not increase the limit of liability that applies to
11                the covered property or relieve you of your duties described in
                  Property – Conditions 2.d. Duties After Loss.
12

13         4. Trees, Shrubs and Other Plants. We cover trees, shrubs, plants or
              lawns, on the “residence premises”, for loss caused by the following
14            Perils Insured Against:
15             a. Fire or Lightning;
16             b. Explosion;
17             c. Riot or Civil Commotion;
18             d. Aircraft;
19             e. Vehicles not owned or operated by a resident of the “residence premises”;
20             f. Vandalism or Malicious Mischief; or
21             g. Theft.
22
               We will pay up to the percentage of Property Coverage A shown in
23             the Declarations for this Property – Additional Coverage for all
               damaged trees, shrubs, plants or lawns. No more than the Per Tree
24             Limit shown in the Declarations for this Property – Additional
               Coverage will be paid for any one tree, shrub or plant. We do not
25             cover property illegally grown or grown for “business” purposes.
26         5. Fire Department Service Charge. We will pay up to the limit shown
              in the Declarations for this Property - Additional Coverage for
27            reasonable and necessary fire department charges incurred by you
              when the fire department is called to save or protect covered property
28            from a Peril Insured Against.
                                                   -7-
                           SFIC’S ANSWER TO COMPLAINT – CASE NO. 24CV2389
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 1                No deductible applies to this coverage.

 2         6. Property Removed. We insure covered property against direct loss
              from any cause while being removed from or returned to a premises
 3            endangered by a Peril Insured Against and for no more than 60 days
              while removed. This coverage does not change the limit of liability
 4            that applies to the removed property.

 5         7. Credit Card, Electronic Fund Transfer Card or Access Device,
              Forgery and Counterfeit Money.
 6
             a. We will pay up to the limit shown in the Declarations for this
 7              Property – Additional Coverage for:
 8                 (1) The legal obligation of an “insured” to pay because of the theft
                       or unauthorized use of credit cards issued to or registered in an
 9                     “insured’s” name;
10                 (2) Loss resulting from theft or unauthorized use of an electronic
                       fund transfer card or access device used for deposit, withdrawal
11                     or transfer of funds, issued to or registered in an “insured’s”
                       name;
12
                   (3) Loss to an “insured” caused by forgery or alteration of any
13                     check or negotiable instrument; and
14                 (4) Loss to an “insured” through acceptance in good faith of
                       counterfeit United States or Canadian paper currency.
15
                   No deductible applies to this coverage.
16

17           b. All loss resulting from a series of acts:

18                 (1) Committed by any one person or group of persons acting in
                       concert; or
19
                   (2) In which any one person or group of persons acting in concert is
20                     concerned or implicated;

21                 is considered to be one loss.

22           c.     We do not cover:

23                 (1) Use of a credit card, electronic fund transfer card or access
                       device:
24
                       (a) By a resident of your household;
25
                       (b) By a person who has been entrusted with either type of card
26                     or access device; or
27                     (c) If an “insured” has not complied with all terms and
                       conditions under which the cards are issued or the devices
28                     accessed; or
                                                     -8-
                           SFIC’S ANSWER TO COMPLAINT – CASE NO. 24CV2389
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 1

 2              (2) Loss arising out of “business” use or dishonesty of an “insured”.
 3           d. If the coverage in 7.a. applies, the following defense provisions also
 4              apply:

 5              (1) We may investigate and settle any claim or suit that we decide is
                    appropriate. Our duty to defend a claim or suit ends when the
 6                  amount we pay for the loss equals our limit of liability.

 7              (2) If a suit is brought against an “insured” for liability under 7.a.(1)
                    or (2), we will provide a defense at our expense by counsel of
 8                  our choice.

 9              (3) We have the option to defend, at our expense, an “insured” or an
                    “insured’s” bank against any suit for the enforcement of
10                  payment under 7.a.(3).

11         8. Loss Assessment.

12           a. We will pay up to the limit shown in the Declarations for this
                Property – Additional Coverage for your share of loss assessment
13              charged during the policy period against you, as owner or tenant of
                the “residence premises”, by a corporation or association of
14              property owners. The assessment must be made as a result of direct
15              loss to property, owned by all members collectively, of the type that
                would be covered by this policy if owned by you, caused by a Peril
16              Insured Against under Property Coverage A.

17              This coverage does not apply to assessments made as a result of
                damage caused by earthquake and other earthquake shocks,
18              including land shock waves or tremors before, during or after
19              volcanic activity.

20              We do cover loss caused directly by fire, explosion or theft
                resulting from earthquake and other earthquake shocks.
21
                The limit shown in the Declarations is the most we will pay with
22
                respect to any one loss, regardless of the number of assessments.
23              We will apply only one deductible, per unit, to the total amount of
                any one loss to the property described above, regardless of the
24              number of assessments.

25           b. We do not cover assessments charged against you or a corporation
                or association of property owners by any governmental body.
26
27           c. Property - Condition 16. Policy Period does not apply to this
                coverage.
28
                                                   -9-
                        SFIC’S ANSWER TO COMPLAINT – CASE NO. 24CV2389
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 1         9. Collapse.

 2           a. With respect to this Property – Additional Coverage:
 3              (1) Collapse means an abrupt falling down or caving in of a building
                    or any part of a building with the result that the building or part
 4                  of the building cannot be occupied for its current intended
                    purpose.
 5
                (2) A building or any part of a building that is in danger of falling
 6                  down or caving in is not considered to be in a state of collapse.
 7              (3) A part of a building that is standing is not considered to be in a
                    state of collapse even if it has separated from another part of the
 8                  building.
 9              (4) A building or any part of a building that is standing is not
                    considered to be in a state of collapse even if it shows evidence
10                  of cracking, bulging, sagging, bending, leaning, settling,
                    shrinkage or expansion.
11

12           b. We insure for direct physical loss to covered property involving
                abrupt collapse of a building or any part of a building if the collapse
13              was caused by one or more of the following:

14              (1) A Peril Insured Against under Property Coverage C;

15              (2) Decay that is hidden from view, unless the presence of such
                    decay is known to an “insured” prior to collapse or there are
16                  visible signs of damage and the “insured” has not taken prompt
                    action to prevent further damage;
17
                (3) Insect or vermin damage that is hidden from view, unless the
18                  presence of such damage is known to an “insured” prior to
                    collapse;
19
                (4) Weight of contents, equipment, animals or people;
20
                (5) Weight of rain which collects on a roof; or
21
                (6) Use of defective material, methods or faulty, inadequate
22                  workmanship in construction, remodeling or renovation if the
                    collapse occurs during the course of the construction, remodeling
23                  or renovation.

24           c. Loss to an awning, fence, patio, deck, pavement, swimming pool,
                underground pipe, flue, drain, cesspool, septic tank, footing,
25              foundation, wall, floor, retaining wall, bulkhead, pier, wharf or dock,
26              whether any item is wholly or partially above or below ground, is not
                included under 9.b.(2) through (6), unless the loss is a direct result of
27              the collapse of a building or any part of a building.

28
                                                   -10-
                          SFIC’S ANSWER TO COMPLAINT – CASE NO. 24CV2389
     Case 2:24-cv-03432-DC-AC Document 1-1 Filed 12/10/24 Page 57 of 64


 1             d. This coverage does not increase the limit of liability that applies to
                  the damaged covered property.
 2
           …
 3
           12.      Ordinance or Law.
 4
                 a. You may use up to the percentage of Property Coverage A shown
 5                  in the Declarations for this Property – Additional Coverage for the
                    increased costs you incur due to the enforcement of any ordinance
 6                  or law which requires or regulates:
 7                  (1) The construction, demolition, remodeling, renovation or repair
                        of that part of a covered building or other structure damaged by
 8                      a Peril Insured Against;
 9                  (2) The demolition and reconstruction of the undamaged part of a
                        covered building or other structure, when that building or other
10                      structure must be totally demolished because of damage by a
                        Peril Insured Against to another part of that covered building or
11                      other structure; or
12                  (3) The remodeling, removal or replacement of the portion of the
                        undamaged part of a covered building or other structure
13                      necessary to complete the remodeling, repair or replacement of
                        that part of the covered building or other structure damaged by
14                      a Peril Insured Against.
15               b. You may use all or part of this ordinance or law coverage to pay
                    for the increased costs you incur to remove debris resulting from
16                  the construction, demolition, remodeling, renovation, repair or
                    replacement of property as stated in 12.a.
17
                 c. We do not cover:
18
                    (1) Stigma damage or any actual or perceived reduction or
19                      diminution in value to any covered building or other structure
                        due to the requirements of any ordinance or law; or
20
                    (2) The costs to comply with any ordinance or law which requires
21                      an “insured” or others to test for, monitor, clean up, remove,
                        contain, treat, detoxify or neutralize, or in any way respond to,
22                      or assess the effects of, “pollutants” in or on any covered
                        building or other structure.
23
                 d. The most we will pay for any increased costs to comply with any
24                  ordinance or law that becomes effective after the date of loss is
                    $5,000.
25
           …
26
           16.      Limited “Fungi” or Other Microbes Remediation.
27
                 a. If a loss covered under the Property Coverage Section results in
28                  “fungi” or other microbes, we will pay up to the limit shown in the
                                                    -11-
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 1               Declarations for this Property – Additional Coverage for:

 2               (1) Remediation of the “fungi” or other microbes. This includes
                     payment for the reasonable and necessary cost to:
 3
                     (a) Remove the “fungi” or other microbes from covered
 4                       property or to repair, restore or replace that property; and

 5                   (b) Tear out and replace any part of the building as needed to
                         gain access to the “fungi” or other microbes;
 6
                 (2) Any reasonable and necessary:
 7
                     (a) Increase in living expense you incur; or
 8
                     (b) Loss of fair rental value; as covered under Property
 9                       Coverage D – Loss of Use, if the “fungi” or other microbes
                         makes the “residence premises” not fit to live in; and
10
                 (3) Any reasonable and necessary testing or monitoring of air or
11                   property to confirm the absence, presence or level of the
                     “fungi” or other microbes, whether performed prior to, during
12                   or after removal, repair, restoration or replacement.

13            b. We will pay under this Property – Additional Coverage only if:

14               (1) The covered loss occurs during the policy period;

15               (2) All reasonable means were used to save and preserve the
                     property at the time of and after the covered loss; and
16
                 (3) We receive prompt notice of the covered cause of loss that is
17                   alleged to have resulted in “fungi” or other microbes.

18            c. The most we will pay under this Property - Additional Coverage is
                 the limit of liability shown in the Declarations for Limited “Fungi”
19               or Other Microbes Remediation. This is the most we will pay for
                 the total of all loss or costs during the policy period regardless of
20               the:

21               (1) Number of locations or items of property insured under this
                     policy; or
22
                 (2) Number of losses or claims made.
23
                 Any amount payable under Property Coverage D as described in
24               16.a.(2) of this Property – Additional Coverage is included within
                 the limit of liability shown in the Declarations for Limited “Fungi”
25               or Other Microbes Remediation.

26            d. If there is covered loss or damage to covered property, not caused,
                 in whole or in part, by “fungi” or other microbes, loss payment will
27               not be limited by the terms of this Property – Additional Coverage,
                 except to the extent that “fungi” or other microbes cause an
28               increase in the loss. Any such increase in the loss will be subject to
                                                  -12-
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 1                the terms of this Property – Additional Coverage.

 2             e. This coverage does not increase the limit of liability that applies to:

 3                (1) The damaged property; or

 4                (2) Property Coverage D – Loss of Use.

 5             All other provisions of this policy apply to Property – Additional
               Coverages.
 6
                                 PROPERTY – EXCLUSIONS
 7
           A. We do not insure for any direct or indirect loss or damage caused by,
 8            resulting from, contributing to or aggravated by any of the following.
              Such loss is excluded regardless of any other cause or event
 9            contributing concurrently or in any sequence to the loss.

10         These exclusions apply whether or not the loss event:

11             (1) Results in widespread damage;

12             (2) Affects a substantial area; or

13             (3) Occurs gradually or suddenly.

14         These exclusions also apply whether or not the loss event arises from:

15             (1) Any acts of nature;

16             (2) Any human action or inaction;

17             (3) The forces of animals, plants or other living or dead organisms; or

18             (4) Any other natural or artificial process.

19         1. Ordinance or Law, meaning any ordinance or law:

20             a. Requiring or regulating the construction, demolition, remodeling,
                  renovation or repair of property, including removal of any resulting
21                debris. This exclusion, A.1.a., does not apply to the amount of
                  coverage that may be provided for under Property - Additional
22                Coverage 12. Ordinance or Law;

23             b. The requirements of which result in stigma damage or any actual
                  or perceived reduction or diminution in value to property; or
24
               c. Requiring an “insured” or others to test for, monitor, clean up,
25                remove, contain, treat, detoxify or neutralize, or in any way
                  respond to, or assess the effects of, “pollutants”.
26
               This exclusion applies whether or not the property has been physically
27             damaged.

28         …
                                                    -13-
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 1         5. Neglect, meaning neglect of an “insured” to use all reasonable means
              to save and preserve property at and after the time of a loss.
 2
           …
 3
           11. “Fungi”, Other Microbes or Rot, meaning any loss or cost resulting
 4             from, arising out of, caused by, consisting of or related to “fungi”,
               other microbes or rot.
 5
               This exclusion does not apply to:
 6
               a. “Fungi” or other microbes remediation coverage that may be
 7                afforded under Property – Additional Coverage 16. Limited
                  “Fungi” or Other Microbes Remediation (this is Property –
 8                Additional Coverage 11. Limited “Fungi” or Other Microbes
                  Remediation in forms HQ-P53 and HQ-P56); or
 9
           …
10
           12. Seepage or Leakage, meaning constant or repeated seepage or
11             leakage of water or steam, or the presence or condensation of
               humidity, moisture or vapor, that occurs over a period of weeks,
12             months or years.

13             This exclusion applies regardless of the source from which the water,
               steam or condensation seeped or leaked.
14
           B. We do not insure for loss to property described in Property Coverages
15            A and B caused by any of the following. However, any ensuing loss to
              property described in Property Coverages A and B not excluded by
16            any other provision in this policy is covered.

17             1. Weather conditions. This exclusion applies only if weather
                  conditions contribute in any way with a cause or event excluded in
18                Property - Exclusion A. to produce the loss.

19             2. Acts or decisions, including the failure to act or decide, of any
                  person, group, organization or governmental body.
20
               3. Faulty, inadequate or defective:
21
                  a. Planning, zoning, development, surveying or siting;
22
                  b. Design, specifications, workmanship, repair, construction,
23                   renovation, remodeling, grading or compaction;

24                c. Materials used      in   repair,       construction,   renovation   or
                     remodeling; or
25
                  d. Maintenance;
26
                  of part or all of any property whether on or off the “residence
27                premises”.

28         …
                                                     -14-
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 1                                 PROPERTY — CONDITIONS

 2           …

 3           2. Duties After Loss. In case of a loss to covered property, we have no
                duty to provide coverage under this policy if the following duties are
 4              not performed. These duties must be performed either by you, an
                “insured” seeking coverage or a representative of either.
 5
             …
 6
                   d. Protect the property from further damage. If repairs to the property
 7                    are required, you must:

 8                    (1) Make reasonable and necessary repairs to protect the property;
                          and
 9
                      (2) Keep an accurate record of repair expenses;
10
             …
11

12           19.      SFIC asserts that Plaintiff’s claims are barred in whole or in part by the policy

13   provisions set forth above.

14                                 SIXTEENTH AFFIRMATIVE DEFENSE

15                                         (Constitutional Defenses)

16           20.      The application in this action of breach of the implied covenant of good faith and

17   fair dealing as the basis for extra-contractual and exemplary damages in insurance claim cases

18   constitutes a denial to SFIC of due process of law and of equal protection of the laws in violation of

19   Article I, §7 of the California Constitution. Among the procedures of California law in this action

20   that deny those rights to SFIC is the failure to bifurcate the trial of the issue of liability on the

21   Policy from the issue of alleged guilt of oppression, fraud or malice. This failure creates an

22   unreasonable and unnecessary risk of an improper decision of all issues.

23                              SEVENTEENTH AFFIRMATIVE DEFENSE

24                                         (Constitutional Defenses)

25           21.      The application in this action of breach of the implied covenant of good faith and

26   fair dealing as the basis for extra-contractual and exemplary damages in insurance claim cases

27   violates SFIC’s rights guaranteed by Article I, §§ 7, 15, and 17 of the California Constitution, by

28
                                                       -15-
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 1   inter alia, not limiting the discretion of the trier of fact as to the amount of exemplary damages that

 2   may be awarded.

 3          22.     The application in this action of breach of the implied covenant of good faith and

 4   fair dealing as the basis for extra-contractual and exemplary damages in insurance claim cases

 5   violates SFIC’s rights guaranteed by Article I, § 7 of the California Constitution, in that, by inter

 6   alia, the award of exemplary damages would constitute an impermissible punishment of status.

 7                              EIGHTEENTH AFFIRMATIVE DEFENSE

 8                                         (Constitutional Defenses)

 9          23.     The application in this action of breach of the implied covenant of good faith and

10   fair dealing as the basis for extra-contractual and exemplary damages in insurance claim cases

11   violates the rights of SFIC to equal protection of the laws and to freedom from cruel and unusual

12   punishment and from excessive fines guaranteed by Article I, §§ 7 and 17 and Article IV, § 16 of

13   the California Constitution.

14                              NINETEENTH AFFIRMATIVE DEFENSE

15                                         (Constitutional Defenses)

16          24.     The conditions of California law limiting the amount of exemplary damages that

17   may be awarded in specific types of cases, while allowing unlimited exemplary damages for other

18   tortious conduct, including breach of the implied covenant of good faith and fair dealing,

19   impermissibly discriminates against those subject to the unlimited exemplary damage awards, such

20   as SFIC, in favor of those not subject to unlimited exemplary damage awards, in violation of Article

21   I, § 7 and Article IV, § 16 of the California Constitution.

22                              TWENTIETH AFFIRMATIVE DEFENSE

23                                         (Constitutional Defenses)

24          25.     The application in this action of breach of the implied covenant of good faith and

25   fair dealing as the basis for extra-contractual and exemplary damages in insurance claim cases is

26   impermissibly vague, imprecise, and inconsistent, and in violation of SFIC’s rights guaranteed by

27   Article I, § 7 of the California Constitution.

28                                                    PRAYER
                                                       -16-
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 1         WHEREFORE, SFIC prays for judgment as follows:

 2         1.    That Plaintiff take nothing by his Complaint;

 3         2.    That the Court enter judgment in favor of SFIC and against Plaintiff;

 4         3.    That the Complaint be dismissed with prejudice;

 5         4.    That SFIC be awarded costs of suit; and

 6         5.    Such other and further relief as the Court deems just and proper.

 7
     DATED: December 9, 2024                   USERY & ASSOCIATES
 8

 9
                                               By:
10                                                    Kathleen M. DeLaney
                                                      Mary Anne Viau
11                                             Attorneys for Defendant THE STANDARD FIRE
                                               INSURANCE COMPANY
12

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 1                                        PROOF OF SERVICE

 2        I am employed in the County of Los Angeles, State of California. I am over the age of 18
   and not a party to the within action; my business address is 655 N. Central Ave., Glendale, CA
 3 91205.

 4          On December 9, 2024 I served the following documents described as:
 5
            THE STANDARD FIRE INSURANCE COMPANY'S ANSWER TO PLAINTIFF'S
 6          COMPLAINT

 7          On the following interested parties in this action addressed as follows:
 8 Daniel J. Veroff, Esq.

 9 MERLIN LAW GROUP
   601 Montgomery St., Ste 1925
10 San Francisco, California 94111
   Tel: (415) 851-2300
11 dveroff@merlinlawgroup.com

12 [X] BY ELECTRONIC MAIL SERVICE as follows: I caused the following party(s) to be
   served the above listed document(s) by electronic mail service/One Legal service at the email
13 addresses to the party(ies) noted above.

14 [X] BY MAIL SERVICE as follows: I enclosed the document in a sealed envelope(s) or
   package(s) addressed to the party (ies) at the address(es) noted above and placed the envelope(s)
15 for collection and mailing

16 [X] STATE: I declare under penalty of perjury under the laws of the State of California that the
   foregoing is true and correct.
17
          Executed On December 9, 2024 at Glendale, California.
18
                                                ___/s/ Mai Segovia_________
19
                                                    Mai Segovia
20

21

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28
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                                             PROOF OF SERVICE
